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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

  UNITED STATES SECURITIES              §
  AND EXCHANGE COMMISSION,              §
                                        §
             Plaintiff,                 §
                                        §
                      v.                §
                                        §
  THE HEARTLAND GROUP VENTURES, LLC;    §
  HEARTLAND PRODUCTION AND RECOVERY §
  LLC; HEARTLAND PRODUCTION AND         §
  RECOVERY FUND LLC; HEARTLAND          §
  PRODUCTION AND RECOVERY FUND II LLC; §
  THE HEARTLAND GROUP FUND III, LLC;    §
  HEARTLAND DRILLING FUND I, LP; CARSON §
  OIL FIELD DEVELOPMENT FUND II, LP;    §
  ALTERNATIVE OFFICE SOLUTIONS, LLC;    §
  ARCOOIL CORP.; BARRON PETROLEUM       §
  LLC; JAMES IKEY; JOHN MURATORE;       §
  THOMAS BRAD PEARSEY; MANJIT SINGH     §         No. 4-21CV-1310-O-BP
  (AKA ROGER) SAHOTA; and RUSTIN        §
  BRUNSON,                              §
                                        §
             Defendants,                §
                                        §
                                        §
                      and               §
                                        §
  DODSON PRAIRIE OIL & GAS LLC; PANTHER §
  CITY ENERGY LLC; MURATORE FINANCIAL §
  SERVICES, INC.; BRIDY IKEY; ENCYPHER  §
  BASTION, LLC; IGROUP ENTERPRISES LLC; §
  HARPRIT SAHOTA; MONROSE SAHOTA;       §
  SUNNY SAHOTA; BARRON ENERGY           §
  CORPORATION; DALLAS RESOURCES INC.;   §
  LEADING EDGE ENERGY, LLC; SAHOTA      §
  CAPITAL LLC; and 1178137 B.C. LTD.,   §
                                        §
             Relief Defendants.         §
                                        §
                                        §


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    RECEIVER’S MOTION (I) TO APPROVE PROPOSED SETTLEMENT WITH
   FORMER COUNSEL TO CERTAIN HEARTLAND-RELATED RECEIVERSHIP
  PARTIES, (II) TO ENTER A BAR ORDER, AND (III) TO APPROVE PAYMENT OF
 FEES AND EXPENSES OF REID COLLINS & TSAI LLP, LITIGATION COUNSEL TO
                                RECEIVER

 TO THE HONORABLE U.S. MAGISTRATE JUDGE HAL R. RAY, JR.:

          Deborah D. Williamson, in her capacity as the Court-appointed Receiver (the “Receiver”)

 for the Receivership Parties (as defined in the Order Appointing Receiver [ECF No. 17]

 (the “Receivership Order”)1 and the Receivership Estates (as defined in the Receivership Order)

 in the above-captioned case (the “Case” or the “Receivership”), hereby files this motion

 (the “Motion”) requesting the Court to enter an order granting the Motion related to the proposed

 settlement (the “Settlement”) between the Receiver and Locke Lord LLP (“Locke”) pursuant to

 the settlement agreement (the “Settlement Agreement”) that the Receiver and Locke have

 executed. If granted, the Motion will provide the following relief:

          (1) the setting of a deadline by which any objection to the Settlement or Settlement

          Agreement must be filed;

          (2) the scheduling of a hearing to consider final approval of the Settlement Agreement and

          this Motion; and

          (3) following the hearing:

                    (i) approval of the Settlement and Settlement Agreement, including the

                    “earmarking” of Net Settlement Proceeds (as defined below) solely for the benefit

                    of investors in the Heartland-Related Receivership Parties;

                    (ii) the entry of an order barring certain claims against Locke; and


 1
  Capitalized terms used herein but not otherwise defined shall have the meaning ascribed in the Settlement Agreement
 (as defined below), as applicable. To the extent that defined terms are inconsistent in this Motion and in the Settlement
 Agreement, the Settlement Agreement shall control.



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                    (iii) approval of the payment of the Receiver’s attorneys’ fees in accordance with

                    the contingency fee agreement between the Receiver and its litigation counsel, Reid

                    Collins & Tsai LLP (“RCT”).

 For the Court’s convenience, attached to this Motion is: Exhibit A, which is a copy of the

 Settlement Agreement, and Exhibit B, which is a proposed final order (the “Proposed Order”) that

 sets forth the relief the Receiver and Locke require as part of the Settlement.

          In support of the Motion, the Receiver respectfully submits as follows:

                                              I. INTRODUCTION

          1.        After a thorough investigation and protracted negotiations, the Receiver has entered

 into a Settlement Agreement with Locke, former counsel to certain of the Heartland-Related

 Receivership Parties.2 Under the Settlement Agreement, once approved and effective, Locke has

 agreed to pay the Receiver the Settlement Amount (defined below), of which the Net Settlement

 Proceeds (defined below) will be distributed to “Heartland Investors” (as defined in the Settlement

 Agreement) who have an allowed claim in the Receiver’s claims process.

          2.        In exchange for its payment, Locke negotiated for a global release of all Settled

 Claims against Locke and the Locke Released Parties. Thus, the Settlement Agreement is

 conditioned upon the Court entering an order providing substantially the same relief as the

 Proposed Order. Among other things, the order would permanently bar, restrain, and enjoin the

 Receivership Parties, the Heartland Investors, the creditors of any Heartland-Related Receivership

 Party, and the Non-Receivership-Party Defendants and Relief Defendants from directly or




 2
   The “Heartland-Related Receivership Parties” are the Receivership Parties that are Heartland entities. They are: The
 Heartland Group Ventures, LLC; Heartland Production and Recovery LLC; Heartland Production and Recovery Fund
 LLC; Heartland Production and Recovery Fund II LLC; The Heartland Group Fund III, LLC; Heartland Drilling Fund
 I, LP; and Carson Oil Field Development Fund II, LP.



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 indirectly, or through a third party, instituting, reinstituting, initiating, commencing, maintaining,

 continuing, filing, encouraging, soliciting, supporting, participating in, collaborating in, or

 otherwise prosecuting against any of the Locke Released Parties any action, lawsuit, cause of

 action, claim, investigation, demand, complaint, or proceeding, whether individually, derivatively,

 on behalf of a class, as a member of a class, or in any other capacity whatsoever, concerning or

 relating to any Settled Claim (as defined in the Settlement Agreement), whether in a court or any

 other forum.

          3.        The Receiver asks the Court to approve the Settlement by granting this Motion and

 entering an order providing the requested relief, which when final will effectuate the Settlement

 and enable the Receiver to make a substantial distribution to Heartland Investors. The Receiver

 also requests that the Court approve the “earmarking” of the Net Settlement Proceeds as returned

 capital solely for the benefit of Heartland Investors pending future Court approval of any interim

 and/or final distribution.

          4.        The Receiver further requests that the Court approve payment of attorneys’ fees to

 RCT as litigation counsel to the Receiver, whose work was necessary to achieve the Settlement,

 in an amount consistent with the contractual twenty-five percent (25%) contingency fee agreement

 with the Receiver that this Court previously approved [ECF No. 260].

                                  II. JURISDICTION AND VENUE

          5.        The Receivership Order grants this Court exclusive jurisdiction and possession of

 the assets, of whatever kind and wherever situated, of the Receivership Parties. Receivership

 Order, ¶ 1.

          6.        Further, the Receiver is charged with pursuing “all suits, actions, claims and

 demands” of the Receivership Estates. Receivership Order, ¶ 8(L).




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          7.        Thus, this Court possesses exclusive jurisdiction over the proposed Settlement

 detailed herein, and venue is proper.

                                  III. RELEVANT BACKGROUND

 A.       Appointment of Receiver and Retention of Litigation Counsel

          8.        On December 1, 2021, Plaintiff, the Securities and Exchange Commission (the

 “Commission”), filed its Emergency Motion for a Temporary Restraining Order and Emergency

 Ancillary Relief [ECF No. 3] which included an application for the appointment of a receiver for

 the Receivership Parties.

          9.        On December 2, 2021, this Court determined that entry of an order appointing a

 receiver over the Receivership Parties was both necessary and appropriate to marshal, conserve,

 hold, and operate all of the Receivership Parties’ assets pending further order of this Court.

 Accordingly, the Court entered the Receivership Order on December 2, 2021, appointing Deborah

 D. Williamson as the Receiver over the Receivership Estates in this Case. See ECF No.17.

          10.       The Receivership Order authorized the Receiver to “engage and employ persons in

 the Receiver’s discretion to assist the Receiver in carrying out the Receiver’s duties and

 responsibilities[.]” Receivership Order, ¶ 8(H).

          11.       The Receivership Order also directed the Receiver to pursue all “actions, claims

 and demands which may now be pending or which may be brought by . . . the Receivership

 Estates[.]” Receivership Order, ¶ 8(L).

          12.       On August 23, 2022, the Receiver filed the Application to Employ Reid Collins &

 Tsai LLP as Litigation Counsel to Receiver Effective as of August 18, 2022 [ECF No. 249]

 (the “RCT Employment Application”), seeking Court approval to employ RCT as litigation

 counsel to investigate and pursue potential claims of the Receivership Estates against former

 professionals of the Receivership Parties. The RCT Employment Application sought approval to


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 compensate RCT on a contingency-fee basis in the amount of 25% of Gross Recoveries (defined

 below) obtained on any claims prior to filing a lawsuit.

          13.       On September 8, 2022, the Court entered an Order [ECF No. 260] (the “RCT

 Employment Order”) approving the RCT Employment Application and the proposed

 compensation terms. The RCT Employment Order also required that RCT “file applications for

 approval of compensation of its fees and expenses.” RCT Employment Order, at ¶ 5.

          14.       In accordance with the RCT Employment Order, the Notice of Filing of Amendment

 to Letter of Engagement Between Receiver and Reid Collins & Tsai LLP [ECF No. 261] was filed

 on September 9, 2022.

 B.       Investigation of Potential Claims Against Locke

          15.       After being retained by the Receiver, RCT commenced an investigation into claims

 against former counsel for the Heartland-Related Receivership Parties, including Locke, an

 international AmLaw 100 law firm that represented one or more Heartland-Related Receivership

 Parties in one or more matters from February 2020 through commencement of this Case.

          16.       As part of its investigation for the Receiver, RCT reviewed voluminous documents,

 emails, and other records. Generally, RCT carefully reviewed the evidence submitted by the

 Commission in support of this Case. RCT also reviewed thousands of emails and other documents

 obtained by the Receiver regarding the Heartland-Related Receivership Parties, and transcripts of

 interviews conducted by the Receiver during her investigation. In addition, RCT reviewed the

 client files and other documents produced to the Receiver by Locke related to its representation of

 certain of the Heartland-Related Receivership Parties. Further, RCT thoroughly researched case

 law in developing its legal theories and damage models for the Receiver’s potential claims against

 Locke.




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          17.       After reviewing these documents and researching the law, RCT concluded that

 there were potentially viable claims against Locke. Specifically, the Receiver is prepared to assert

 a claim alleging that Locke and its attorneys, as counsel to certain of the Heartland-Related

 Receivership Parties in connection with oil-and-gas offerings and the Commission’s investigation,

 knew or should have known that the Heartland-Related Receivership Parties were violating

 securities laws, were not in compliance with Commission regulations, and were using investor

 funds to make improper payments, including interest payments to prior investors with new investor

 funds, undisclosed payments to insiders, and commissions to unlicensed sales representatives. The

 Receiver would allege that, despite this purported knowledge, Locke, inter alia, negligently

 advised the Heartland-Related Receivership Parties to maintain the status quo, failed to properly

 advise the Heartland-Related Receivership Parties of their disclosure obligations to investors,

 failed to review offering and other key documents for legal compliance for the protection of

 investors, and failed to advise the Heartland-Related Receivership Parties to cease raising new

 funds and avoid incurring additional liabilities to investors. The Receiver contends that if the

 Heartland-Related Receivership Parties had received that advice, they would have stopped raising

 new funds and would have avoided various categories of damages, including the loss of money

 through illegal or improper out-of-pocket payments. All of the Receiver’s proposed claims against

 Locke are referred to as the “Alleged Claims.”

          18.       Locke denies the Alleged Claims and any and all allegations of wrongdoing, fault,

 liability, causation, or damages whatsoever. See also Paragraph 36 below. During the course of

 settlement negotiations with the Receiver, Locke retained an expert accountant to evaluate and

 rebut the Receiver’s damages and damages model. Locke presented the Receiver with arguments




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 supported by its expert accountant that, in Locke’s opinion, disproves and/or establishes material

 defenses to the Alleged Claims.

 C.       Mediation Regarding Potential Claims Against Locke

          19.       Beginning in September 2022, RCT, on behalf of the Receiver, engaged with Locke

 in pre-suit negotiations, and the parties entered into a tolling agreement. In March 2023, RCT

 provided Locke a confidential draft complaint, and offered to engage in pre-suit mediation. After

 further discussions, the parties agreed to participate in mediation with the Honorable Jeff Kaplan

 (Ret.), a well-respected former federal and state judge and JAMS mediator.

          20.       On August 22, 2023, after exchanging extensive and confidential mediation

 statements and supporting exhibits, the Receiver and Locke participated in an in-person mediation

 with Judge Kaplan. At mediation, the Receiver was unable to reach a resolution of the Heartland

 Receivership Parties’ claims against Locke. However, the parties continued extensive and arms-

 length negotiations with Judge Kaplan throughout the next several months.

          21.       On December 20, 2023, Judge Kaplan issued to the parties his mediator’s proposal

 to resolve all claims of the Receiver against Locke. Ultimately, on December 22, 2023, the parties

 accepted the mediator’s proposal, subject to definitive documentation.

          22.       On March 28, 2024, the Receiver and Locke executed the Settlement Agreement.

 Court approval of the proposed settlement and entry of a bar order are conditions of the proposed

 settlement.




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 D.       Proposed Settlement of All Claims Against Locke

          23.       The items below provide a general overview of the proposed Settlement, as

 described in the Settlement Agreement (attached as Exhibit A):

                    a.    The Settlement is by and between the following parties (the
                          “Parties”): (a) the Receiver, as the Court-appointed Receiver on
                          behalf of the Receivership Parties, and (b) Locke;

                    b.    Locke will pay $12.5 million (the “Settlement Amount”), which will
                          be deposited with the Receiver pursuant to the Settlement
                          Agreement;

                    c.    The Parties agree to the mutual release of any claims and causes of
                          action, known or unknown, as of the Settlement Effective Date;

                    d.    The Settlement Agreement is conditioned upon entry of an order that
                          permanently enjoins the Receivership Parties, the Heartland
                          Investors, the creditors of Heartland-Related Receivership Parties,
                          and Non-Receivership-Party Defendants and Relief Defendants
                          from bringing, encouraging, assisting, continuing, or prosecuting,
                          against Locke or any of the Locke Released Parties, any action,
                          lawsuit, cause of action, claim, investigation, demand, complaint, or
                          proceeding of any nature arising from or relating to any Settled
                          Claim;

                    e.    The Settlement will be effective (the “Settlement Effective Date”)
                          upon the Court’s entry of an order granting the relief sought in this
                          Motion and that order becoming final. Within twenty (20) calendar
                          days after the Settlement Effective Date, Locke shall pay, or cause
                          to be paid, the Settlement Amount by wire transfer to the Receiver;

                    f.    The Receiver will disseminate notice of the Settlement and this
                          Motion to the Receivership Parties, Heartland Investors, creditors of
                          Heartland-Related Receivership Parties, and Non-Receivership-
                          Party Defendants and Relief Defendants, through one or more of the




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                            following: first-class mail, email, CM/ECF notification, and/or the
                            Receivership website (www.heartlandreceivership.com);

                     g.     The Net Settlement Proceeds3 shall be distributed to Heartland
                            Investors as returned capital pursuant to a subsequent order of this
                            Court approving any such distributions under a distribution plan;

                     h.     Under the distribution plan, once approved, the Net Settlement
                            Proceeds will be distributed by the Receiver, under the supervision
                            of the Court, to Heartland Investors who have Claims that have been
                            allowed by the Receiver;

                     i.     Heartland Investors who accept funds from the Settlement Amount
                            will, upon accepting the funds, fully release Locke and the Locke
                            Released Parties from any and all Settled Claims.

          24.        As explained below, the proposed Settlement is fair, equitable, and in the best

 interests of the Heartland-Related Receivership Parties and their estates. Further, because paying

 the Net Settlement Proceeds to the Heartland Investors increases the recoveries available to pay

 those investors in the Receivership claims process, the Settlement is also in the best interests of

 the Heartland Investors, who are the largest contingent of Heartland creditors. The Receiver has

 conferred with the Commission with respect to the Settlement, and the Commission has no

 objection to the proposed Settlement with Locke.

                    IV. RELIEF REQUESTED, ARGUMENT, AND AUTHORITIES

 A.       Request for Approval of Proposed Settlement and Entry of Bar Order

          25.        Although not required under the Receivership Order, the Receiver requests this

 Court’s approval of the proposed Settlement and entry of an order as required by the Settlement

 Agreement.




 3
  “Net Settlement Proceeds” shall be the Settlement Amount less fees and expenses incurred by the Receiver including,
 without limitation, the amounts to be paid to RCT. The Receiver estimates that the “Net Settlement Proceeds” will
 be approximately $9,275,000.00.



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          26.       This Court “has broad powers and wide discretion to determine the appropriate

 relief in an equity receivership.” SEC v. Safety Fin. Serv., Inc., 674 F.2d 368, 372–73 (5th Cir.

 1982) (quoting SEC v. Lincoln Thrift Ass’n, 577 F.2d 600, 606 (9th Cir. 1978)). Within such broad

 authority lies this Court’s power to approve settlements, provided that the settlement is “fair and

 equitable and in the best interests of the estate[s].” SEC v. Stanford Int’l Bank, Ltd., 927 F.3d 830,

 840 (5th Cir. 2019) (quoting Ritchie Capital Mgmt., L.L.C. v. Kelley, 785 F.3d 273, 278 (8th Cir.

 2015) (internal citation omitted)). Here, the proposed Settlement is the result of a mediator’s

 proposal and is fair, equitable, and in the best interests of Heartland Investors and the Heartland-

 Related Receivership Parties and their estates.

          27.       “Courts have consistently held that Congress intended for federal equity receivers

 to be utilized in situations involving federal securities laws, like the present receivership,” and in

 such cases for the court to act as a court in equity for the benefit of defrauded investors. See id. at

 35 (internal quotation marks omitted); see also 15 U.S.C. § 80a-41(d). A receiver’s mandate is “to

 maximize the value of the corporations [in receivership] for the benefit of their investors and any

 creditors[.]”). Janvey v. Democratic Senatorial Campaign Comm., Inc., 712 F.3d 185, 191 (5th

 Cir. 2013) (quoting Scholes v. Lehmann, 56 F.3d 750, 754–55 (7th Cir. 1995)).

          28.       The Receivership Order in this Case closely reflects and furthers the above

 objectives, directing the Receiver to prosecute, defend, and compromise actions to maximize

 timely distributions to claimants. See Receivership Order ¶ 45.

          29.       The ability to compromise claims is critical to this Receivership. Courts have long

 emphasized that public policy favors settlement. See, e.g., Lydondell Chem. Co. v. Occidental

 Chem. Corp., 608 F.3d 284, 297 n.43 (5th Cir. 2010). That is especially true here, as Heartland

 Investors await recovery, further costs would come directly out of the Receivership Estates, and




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 the Settlement would allow the Receiver to make a significant distribution solely for the benefit of

 Heartland Investors as returned capital, pending further order of the Court on a distribution plan.

          30.       Consistent with all the foregoing purposes, this Court has the authority to enter a

 bar order prohibiting litigation against settling third parties in receivership cases. See Zacarias v.

 Stanford Int'l Bank, Ltd., 945 F.3d 883, 896-97 (5th Cir. 2019) (approving bar order enjoining

 third-party claims against defendants that settled with receiver); SEC v. Kaleta, 530 F. App’x 360,

 362–63 (5th Cir. 2013) (“Kaleta II”). Bar orders have often been used in other receivership cases

 to achieve these purposes. See e.g., SEC v. DeYoung, 850 F.3d 1172, 1180–81 (10th Cir. 2017);

 Gordon v. Dadante, 336 F. App’x 540, 549 (6th Cir. 2009); Janvey v. Proskauer Rose, LLP, No.

 3:13-cv-0477-N-BQ, at pp. 6–11 (N.D. Tex. Jan. 16, 2019) (ECF No. 358); SEC v. Parish, No.

 2:07-cv-00919-DCN, 2010 U.S. Dist. LEXIS 11786, at *14–17 (D.S.C. Feb. 10, 2010); SEC v.

 Enter. Tr. Co., et al., No. 1:08-cv-01260, at pp. 2–3 (N.D. Ill. Jan. 29, 2009) (ECF No. 245).

          31.       Bar orders foreclosing suit against third-party defendants against whom the receiver

 is engaged in litigation “can serve as an important tool permitting a district court to prevent

 dissipation of property or assets subject to multiple claims in various locales, as well as preventing

 piecemeal resolution of issues that call for a uniform result.” See Zacarias, 945 F.3d at 897

 (internal citations omitted).

          32.       The Fifth Circuit in Kaleta II stated that a district court was within its discretion to

 enter a bar order, such as the ones requested here, where (i) the bar order is necessary for “securing”

 the settlement payment; (ii) the settlement agreement “expressly permits” those affected by the bar

 order “to pursue their claims by participat[ing] in the claims process for the Receiver’s ultimate

 plan of distribution for the Receivership Estate”; and (iii) the scope of the bar order is designed to




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 achieve these objectives. See Kaleta II, at 362–63 (internal citations and quotation marks omitted).

 Each of the factors mentioned in Kaleta II is present in this Case.

          33.       This Court and other district courts in this Circuit have also looked to factors such

 as: (1) the value of the proposed settlement; (2) the value and merits of the receiver’s potential

 claims; (3) the risk that litigation would dissipate the receivership assets; (4) the complexity and

 costs of future litigation; (5) the implications of any satisfaction of an award on other claimants;

 (6) the value and merits of any foreclosed parties’ potential claims; and (7) other equities incident

 to the situation. See Certain Underwriters at Lloyd’s of London, et al. v. Janvey, No. 3:09-CV-

 1736-N-BQ, at p. 6 (N.D. Tex. May 16, 2017) (ECF No. 200); SEC v. Kaleta, No. 4:09-3674, 2012

 U.S. Dist. LEXIS 14880, at *18 (S.D. Tex. Feb. 7, 2012) (“Kaleta I”).

          34.       The factors articulated in Kaleta I all support approval of the proposed Settlement.

 First, the proposed Settlement yields a significant payment to Heartland Investors as returned

 capital, pending further order of the Court on a distribution plan.

          35.       Second, the proposed Settlement eliminates any claim Locke may have against the

 Receivership Parties for unpaid fees and expenses related to its representation of the Receivership

 Parties. This claim will be released as part of the mutual releases in the proposed Settlement.

          36.       Third, although the Receiver believes the claims against Locke are viable and have

 value, the claims involve risk and uncertainty. Indeed, Locke has vigorously disputed and

 discredited the Receiver’s claims, arguing that, inter alia, (1) Locke had no role in providing legal

 services regarding the matters for which the Receiver claims damages, (2) the Heartland-Related

 Receivership Parties were represented by other counsel, not Locke, in connection with the drafting

 of certain offering statements and other key documents, (3) Locke’s representation met the

 standard of care in light of the information provided to and withheld from Locke, (4) the Receiver’s




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 alleged damages are due to the criminal conduct of a third party, and are therefore not recoverable

 from Locke, (5) Locke did not cause or contribute to causing any of the underlying damages, (6)

 the Receiver lacks legal standing to seek some of the damages she alleges, (7) the Heartland-

 Related Receivership Parties concealed material information from Locke, (8) the Receiver’s

 damage model was flawed and included millions of dollars that were either not damages to the

 Receiver or not recoverable from Locke, even if the Receiver prevailed in litigation, and (9) Locke

 does not agree with the Commission that the Heartland-Related Receivership Parties’ oil and gas

 activities met the definition of the Ponzi scheme. The Receiver disagrees with Locke’s arguments,

 but the Receiver acknowledges that these arguments demonstrate that litigation against Locke

 would involve substantial risk and uncertainty, particularly with calculation of damages for the

 ultimate recovery and distribution of returned capital to Heartland Investors.

          37.       Fourth, litigation against Locke would be complex, lengthy, and expensive. As

 reflected above, the litigation would involve complex, difficult, and hotly contested issues. Many

 of these issues would require costly expert reports and testimony. These issues would also require

 costly depositions and discovery from other witnesses, including certain Non-Receivership-Party

 Defendants and Relief Defendants. Up to $100,000 of such costs would ultimately be reimbursed

 by the Receiver in accordance with the RCT Employment Order from any recovery on the claims

 against Locke. Further, upon the filing of litigation the contingency fee approved by this Court

 would increase from 25% to 40% of Gross Recoveries (defined herein).

          38.       Fifth, the proposed Settlement is equitable for other potential claimants, specifically

 for Heartland Investors who stand to recover by “participat[ing] in the claims process for the

 Receiver’s ultimate plan of distribution for the Receivership Estate.” See Kaleta II, 530 F. App’x

 at 362. Indeed, approval of the Settlement is in the collective best interest of all Heartland Investors




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 by “maximiz[ing] assets available to them and facilitate[ing] an orderly and equitable distribution

 of those assets.” See Zacarias, 945 F.3d at 902.

          39.       Sixth, although the Proposed Order would preclude Heartland Investors and certain

 other persons or entities from asserting the Settled Claims against Locke, such claims are subject

 to the “attorney immunity doctrine” in Texas. The attorney immunity doctrine renders law firms

 like Locke immune from suit by non-clients based on the provision of legal services to the law

 firm’s client. See Haynes & Boone, LLP v. NFTD, LLC, 631 S.W.3d 65, 67 (Tex. 2021). Further,

 even if an individual investor were able to assert a Settled Claim against Locke, it is extremely

 unlikely that any investor could obtain a more favorable settlement than the Settlement Agreement,

 or one that would benefit as many investors as the Settlement Agreement will. See Parish, 2010

 U.S. Dist. LEXIS 11786, at *12. Thus, the lack of “value and merits of any foreclosed parties’

 potential claim[]” supports the entry of a bar order. Kaleta I, at *18.

          40.       Seventh, a bar order is a necessary condition to Locke making payment under the

 Settlement Agreement. In consideration for Locke’s payment of $12.5 million, despite its belief

 that it has meritorious defenses, Locke negotiated for the entry of a bar order to buy complete and

 final peace and to guarantee that it will not incur the additional expense and burden of litigation

 related to the Settled Claims. Under the Settlement Agreement, Locke will only pay the Settlement

 Amount upon the entry and finality of an order, such as the Proposed Order, that grants the relief

 requested herein, including, but not limited to, a bar provision.

          41.       Fifth Circuit authority shows that it is within the Court’s discretion to approve the

 Settlement and enter a bar order. For example, in Zacarias, the Stanford receiver settled with

 third-party defendants conditioned upon bar orders prohibiting claims against the settling

 defendants related to the receivership. Zacarias, 945 F.3d at 894. The district court approved the




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 settlement and entered the bar orders. Id. On appeal, the Fifth Circuit affirmed, rejecting challenges

 to the bar orders from various investors who had filed separate lawsuits against the settling

 defendants. Id. at 899–905. The court reasoned that the objecting investors suits “are derivative of

 and dependent on the receiver’s claims and compete with the receiver for the dollars in [the settling

 defendants’] pockets,” and that the settling defendants negotiated for the bar orders because their

 “incentives to settle are reduced—likely eliminated—if each SIB C-D investor retains an option

 to pursue full recovery in individual satellite litigation. Such resolution is no resolution.” Id. at

 900. The Fifth Circuit concluded the entry of the bar orders was proper because allowing individual

 investors to bring claims against the settling defendants “would frustrate the central purposes of

 the receivership and confound the SEC's mission to achieve maximum recovery from the

 malefactors for distribution” to investors. Id. at 905.

          42.       Likewise, in Kaleta II, the Kaleta receiver sued and later settled with a third-party

 defendant, and the settlement required entry of a bar order enjoining all claims against the settling

 defendant as a condition of payment. Kaleta II, 530 Fed. App’x at 362. The district court entered

 the bar order and the Fifth Circuit affirmed. Id. at 363. The Fifth Circuit reviewed the factors

 considered by the district court in entering the bar order, “namely the necessity of the bar order for

 securing [the settling defendants’] personal guarantees to pay the Receivership Estate, and the fact

 that the settlement expressly permits Appellants and other investors to pursue their claims by

 ‘participat[ing] in the claims process for the Receiver’s ultimate plan of distribution for the

 Receivership Estate,’” and upheld the entry of the bar order. Id. at 362–63.

          43.       In sum, the proposed Settlement is fair, equitable, and in the best interests of the

 Heartland-Related Receivership Parties’ estates and the Heartland Investors. A bar order is a

 necessary condition to the Settlement, which is in the collective best interest of the Heartland




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 Investors, who stand to benefit from distribution of the Net Settlement Proceeds as returned capital.

 The proposed Settlement is the product of arms-length and good-faith negotiations between the

 Parties, with the assistance of a well-respected mediator. The Commission does not object to the

 proposed Settlement. Therefore, the Receiver requests that this Court approve the proposed

 Settlement and provide the relief requested in the Proposed Order.

 B.       Request for Approval of “Earmarking” Net Settlement Proceeds Solely for the
          Benefit of Heartland Investors

          44.       The origin of the damage claims alleged by the Receiver are for the allegedly

 fraudulent operation of one or more of the Heartland-Related Receivership Parties, and the

 resultant destruction to the value of the capital invested in one or more Heartland-Related

 Receivership Parties and their subsequent inability to satisfy obligations owed to Heartland

 Investors. The Receiver further requests this Court approve that the Net Settlement Proceeds

 received by the Receiver—the Settlement Amount, less any fees and expenses owed to RCT—be

 “earmarked” for the sole benefit of Heartland Investors in any interim and/or final distribution

 approved by this Court to reduce their injury and destruction to the value of their respective

 investments/capital in the Heartland-Related Receivership Parties. The underlying claims of the

 proposed Settlement solely relate to the Heartland-Related Receivership Parties. As such, the

 Receiver proposes that she serve merely as a conduit on behalf of the Heartland-Related

 Receivership Parties and hold the Net Settlement Proceeds as returned capital solely for the benefit

 of Heartland Investors pending future Court approval of any interim and/or final distribution.

          45.       The Receiver’s proposal to earmark the proposed Net Settlement Proceeds solely

 for the benefit of the investors harmed in the oil and gas investment offerings is fair, equitable, and

 in the best interests of the estates of the Heartland-Related Receivership Parties. If approved, the

 Receiver shall receive the Net Settlement Proceeds of the Settlement Amount on behalf of



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 Heartland Investors for distribution to those investors to reduce their alleged damages for the injury

 and destruction to the value of their respective invested capital in the one or more Heartland-

 Related Receivership Parties. Thus, the Court should approve the Receiver’s request to “earmark”

 the Net Settlement Proceeds for the eventual distribution solely to Heartland Investors, which will

 be requested as part of a separate proposed distribution motion.

 C.       Request for Approval of Litigation Counsel’s Fees and Expenses

          46.       In accordance with the Receivership Order and the RCT Employment Order, the

 Receiver also requests that this Court approve payment of RCT’s fees and expenses related to the

 proposed Settlement with Locke. This Motion shall be considered as RCT’s final application for

 compensation of its fees and expenses associated with the proposed Settlement.

          47.       The Court approved the Receiver’s retention of RCT as litigation counsel with the

 following contingency-fee arrangement:

                    a.     Pre-Suit Phase Contingency Fee: 25% of Gross Recoveries4 obtained for
                           the claims prior to the filing of a lawsuit.

                    b.     Costs and Expenses. The Receiver will fund an expense retainer in the
                           amount of $100,000.00, which may be paid in installments of $25,000.00
                           and replenished when depleted. The amount of out-of-pocket expenses that
                           the Receiver will have to advance to RCT is capped at $100,000.00.
                           RCT shall be entitled to reimbursement from any recoveries or expenses
                           advanced by the firm.

 See RCT Employment Application, at pp. 24–25; RCT Employment Order, at p. 2.

          48.       On October 30, 2023, the Receiver sent RCT an initial retainer in the amount of

 $25,000.00 (the “Retainer”) in accordance with the RCT Employment Order.




 4
  “Gross Recoveries” includes the gross amount of any cash payments to the Receivership, including settlement
 amounts. Gross Recoveries shall be the amount of the recoveries prior to the deduction of any expenses.
 See RCT Employment Application, at pp. 24–25.



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            49.     Pursuant to this Court-approved agreement, the Receiver seeks authority to pay

 RCT’s contingency fee and to reimburse RCT’s out-of-pocket expenses (the “Expenses”) related

 to the proposed Settlement.             Specifically, the Receiver requests Court authority to pay a

 contingency fee of 25% of the proposed Settlement amount5 and to reimburse RCT for Expenses

 in the amount of $5,443.82.6 A list of Expenses incurred by RCT is attached hereto as Exhibit C.

            50.     This Court has previously approved the compensation to RCT funding that the

 engagement, including the contingency fee proposal, as being in “the best interests of the Estates.”

 RCT Employment Order, at p. 2. However, even if the compensation terms had not been

 previously approved, the payment to RCT should be approved as reasonable. See SEC v. Stanford

 Int’l Bank, Ltd., No. 3:09-cv-00298-N, 2018 U.S. Dist. LEXIS 57257, at *26 (N.D. Tex. Mar. 26,

 2018) (citing Union Asset Mgmt. Holding A.G. v. Dell, Inc., 669 F.3d 632, 642–43 (5th Cir. 2012)).

            51.     “The Fifth Circuit is ‘amenable to [the percentage method’s] use, so long as the

 Johnson framework is utilized to ensure that the fee award is reasonable.’” Id. at 643 (citing

 Johnson v. Ga. Hwy. Express, Inc., 488 F.2d 714, 717–720 (5th Cir. 1974)). The proposed

 contingency fee to RCT is reasonable under the percentage method and the Johnson framework.

            52.     The proposed contingency fee is reasonable under the percentage method, which

 was previously approved by the Court. Courts in this District and the Fifth Circuit have approved

 contingency fees of 25% or more of the total recovery. See, e.g., Stanford, 2018 U.S. Dist. LEXIS

 57257, at *25 (approving contingency fee of 25%); see also SEC v. Howard, No. 3:17-cv-420-E

 (N.D. Tex. Dec. 17, 2019) (ECF No. 130, 127) (order granting settlement motion with contingency



 5
     RCT would deduct the balance, if any, remaining from the Retainer after payment of court approved Expenses.

 6
  RCT shall first apply the initial $25,000.00 retainer to its Expenses. To the extent the retainer exceeds Expenses,
 RCT shall apply the balance to the contingency fee.



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 fee of 33%). Indeed, the 25% fee requested is “substantially below the typical market rate

 contingency fee percentage of 33% to 40%” that law firms typically charge for complex cases such

 as this. See Stanford, 2018 U.S. Dist. LEXIS 57257, at *3. Accordingly, the 25% contingency fee

 is reasonable under the percentage method.

          53.       The proposed contingency fee is also reasonable under the Johnson factors, which

 include: (a) time and labor required; (b) novelty and difficulty of the issues; (c) required skill;

 (d) whether other employment is precluded; (e) the customary fee; (f) whether the fee is fixed or

 contingent; (g) time limitations; (h) amount involved and results obtained; (i) attorney’s

 experience, reputation, and ability; (j) “undesirability” of the case; (k) nature and length of the

 professional relationship with the client; and (l) awards in similar cases. See Johnson, 488 F.2d at

 717–20. As explained below, the Johnson factors weigh heavily in favor of approving RCT’s

 contingency fee:

                    a.     Time and Labor Required: This case required substantial time and effort.
                           Over the past 24 months, RCT has spent approximately 1,500 hours of
                           attorney time investigating and pursuing the underlying claims. RCT’s
                           efforts included: (i) gathering, reviewing, and analyzing thousands of
                           documents; (ii) drafting and negotiating tolling agreements; (iii) conferring
                           with accounting specialists regarding damages issues; (iv) researching
                           potential claims and drafting a detailed complaint; (v) corresponding with
                           Locke’s counsel through phone calls and letters regarding the substance of
                           the claims and defenses; (vi) preparing extensive mediation briefing; (vii)
                           participating in mediation and extended settlement discussions with Judge
                           Kaplan and Locke’s counsel; and (viii) drafting and negotiating the
                           Settlement Agreement and related papers with Locke’s counsel.

                    b.     Novelty and Difficulty of Issues: This case involved complex factual and
                           legal issues. As explained above, Locke asserted defenses to the Receiver’s
                           claims and damages.

                    c.     Skill Required: Given the complexity of the factual and legal issues, this
                           case required significant, sophisticated skill and effort on RCT’s part.

                    d.     Preclusion of Other Employment: Although the case did not necessarily
                           preclude RCT from accepting other employment, the sheer amount of time



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                           and effort required by the case reduced RCT’s ability to devote time and
                           effort to other matters.

                    e.     Customary Fee: As discussed above, the proposed fee is similar to or less
                           than the customary fee for comparable cases. The “typical market rate” is a
                           33% to 40% contingency fee for a complex securities-related case.

                    f.     Whether Fee is Fixed or Contingent: The proposed fee was contingent upon
                           obtaining a recovery from Locke. As such, RCT bore significant risk in
                           accepting the engagement.

                    g.     Time Limitations: The engagement involved some time limitations. This
                           Receivership had been pending for approximately 8 months when RCT was
                           retained. Therefore, RCT felt compelled to act quickly. Had RCT not
                           obtained the proposed Settlement, then it would have likely taken years of
                           litigation to resolve the Receiver’s claims against Locke.

                    h.     Amount Involved and Results Obtained: The proposed Settlement results
                           in a significant payment to the Receiver as a conduit on behalf of the
                           Heartland-Related Receivership Parties for the benefit of the Heartland
                           Investors—a payment which is not only substantial, but also represents a
                           large portion of the total damages that the Receiver could potentially
                           recover from Locke with respect to the underlying claims.

                    i.     Attorney’s Experience, Reputation, and Ability: RCT and its attorneys are
                           preeminent in the pursuit of claims involving complex financial fraud and,
                           particularly, in claims against professionals and law firms. RCT has
                           significant experience representing receivers, trustees, and other court-
                           appointed fiduciaries in pursuit of third-party claims.

                    j.     Undesirability of Case: The case involves claims against a law firm. Many
                           attorneys and firms refuse to, or express reluctance to, handle claims against
                           other attorneys and firms. In Texas, entitlement of Receivers to damages
                           creates uncertainty and adds to the uncertainty of collection.

                    k.     Nature and Length of Professional Relationship: RCT has not represented
                           the Receiver in other matters, but the Receiver could potentially expand
                           RCT’s scope of engagement in this Case.

                    l.     Awards in Similar Cases: As discussed above, the proposed fee is
                           comparable to or lower than other awards in similar cases.

          54.       In sum, the proposed contingency fee is reasonable under the percentage method

 and the Johnson factors. Thus, RCT’s contingency fee and Expenses should be approved and paid

 from the proceeds of the proposed Settlement Amount.



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                                  V. CONCLUSION AND PRAYER

          55.       The Settlement was reached after many months of arms-length negotiations with

 Locke and is a fair and equitable result. The large recovery, the significant time and expense

 required to pursue claims against Locke, and the uncertainty of obtaining a judgment against Locke

 all weigh in favor of approving the Settlement, entering an order granting this Motion, including

 the bar order requested, setting a schedule that allows for objections to and a hearing on the

 Settlement, and approving the contingency fee of RCT as Litigation Counsel to the Receiver.

          56.       For the foregoing reasons, the Receiver requests that this Court grant the Motion

 and provide the following relief:

          (1) the setting of a deadline by which any objection to the Settlement or Settlement

          Agreement must be filed on the docket in this Case;

          (2) the scheduling of a hearing to consider final approval of the Settlement Agreement and

          this Motion; and

          (3) following the hearing:

                    (i) approval of the Settlement and Settlement Agreement, including the

                    “earmarking” of Net Settlement Proceeds solely for the benefit of Heartland

                    Investors in the Heartland-Related Receivership Parties,

                    (ii) the entry of an order barring certain claims against Locke in a manner that

                    provides substantially the same relief as Exhibit B, and

                    (iii) approval of the payment of RCT’s 25% contingency fee and Expenses in the

                    amount of $5,443.82 relating to the proposed Settlement, and

          (4) such further relief to which the Receiver may be entitled.




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 Dated: April 2, 2024                              Respectfully submitted,

                                                   By: /s/ Danielle Rushing Behrends
                                                      Danielle Rushing Behrends
                                                      State Bar No. 24086961
                                                      dbehrends@dykema.com
                                                      DYKEMA GOSSETT PLLC
                                                      112 East Pecan Street, Suite 1800
                                                      San Antonio, Texas 78205
                                                      Telephone: (210) 554-5500
                                                      Facsimile: (210) 226-8395

                                                       and

                                                       Rose L. Romero
                                                       State Bar No. 17224700
                                                       Rose.Romero@RomeroKozub.com
                                                       LAW OFFICES OF ROMERO | KOZUB
                                                       235 N.E. Loop 820, Suite 310
                                                       Hurst, Texas 76053
                                                       Telephone: (682) 267-1351

                                                       COUNSEL TO RECEIVER



                            CERTIFICATE OF CONFERENCE

         The Receiver, through the undersigned counsel, conferred with counsel for Plaintiff,
 Securities and Exchange Commission (the “Commission”) on March 13, 2024, regarding the relief
 requested in the Motion. The Commission consents to the relief requested in the Motion.

                                                   /s/ Danielle Rushing Behrends
                                                   Danielle Rushing Behrends




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on April 2, 2024, the foregoing document was served via CM/ECF on
 all parties appearing in this Case, including counsel for Plaintiff, Securities and Exchange
 Commission and on the following unrepresented persons via email:


          James Ikey
          Bridy Ikey
          james.ikeyrcg@gmail.com
          bridydikey@gmail.com

          IGroup Enterprises LLC
          c/o James Ikey
          james.ikeyrcg@gmail.com

          John Muratore
          jmuratore6@gmail.com

          Muratore Financial Services, Inc.
          c/o John Muratore
          jmuratore6@gmail.com

          Thomas Brad Pearsey
          bradpearsey@aol.com

          Manjit Singh (aka Roger) Sahota
          Harprit Sahota
          Monrose Sahota
          rogersahota207@gmail.com

          Sunny Sahota
          sunnysanangelo@gmail.com


        I further certify that all known parties in interest, including all Heartland Investors and
 claimants, will be served via first-class U.S. mail and/or email, as applicable, by Stretto, on behalf
 of the Receiver. I will file a supplemental certificate of service (redacted, as appropriate) upon
 completion of service by Stretto.

                                                       /s/ Danielle Rushing Behrends
                                                       Danielle Rushing Behrends




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                        EXHIBIT A (Settlement Agreement)




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                                         SETTLEMENT AGREEMENT

            THIS SETTLEMENT AGREEMENT (the “Agreement”) is made and entered into by

 and between (i) Deborah D. Williamson, solely in her capacity as the court-appointed receiver for

 the estates of the Receivership Parties (the “Receiver”); and (ii) Locke Lord LLP (“Locke”)

 (Receiver, on the one hand, and Locke, on the other hand, are referred to in this Agreement

 individually as a “Party” and together as the “Parties”);

            WHEREAS, on December 1, 2021, the Securities and Exchange Commission (the

 “Commission”), filed in the United States District Court for the Northern District of Texas, Fort

 Worth Division (the “Court”) its Emergency Motion for a Temporary Restraining Order and Emergency

 Ancillary Relief in United States Securities and Exchange Commission v. The Heartland Group Ventures,

 LLC, et al., Case No. 4:21-cv-01310 (the “Case” or the “SEC Action”), which included an

 application for the appointment of a receiver for the Receivership Parties 1 [ECF No. 3].

            WHEREAS, in the Order Appointing Receiver, dated December 2, 2021 [ECF No. 17] (the

 “Receivership Order”), the Court determined that entry of an order appointing a receiver over the

 Receivership Parties was both necessary and appropriate to marshal, conserve, hold and operate all

 of the Receivership Parties’ assets pending further order of this court.2 Accordingly, the Court



 1 The “Receivership Parties” are: The Heartland Group Ventures, LLC; Heartland Production and Recovery LLC;
 Heartland Production and Recovery Fund LLC; Heartland Production and Recovery Fund II LLC; The Heartland
 Group Fund III, LLC; Heartland Drilling Fund I, LP; Carson Oil Field Development Fund II, LP; Alternative Office
 Solutions, LLC; Arcooil Corp.; Barron Petroleum LLC; Dodson Prairie Oil & Gas LLC; Panther City Energy LLC;
 Encypher Bastion, LLC; Barron Energy Corporation; Dallas Resources Inc.; Leading Edge Energy, LLC; Sahota
 Capital LLC; and 1178137 B.C. LTD.
 As used herein, the term “Heartland-Related Receivership Parties” refers to the subset of the Receivership Parties that
 are Heartland entities. The Heartland-Related Receivership Parties are: The Heartland Group Ventures, LLC;
 Heartland Production and Recovery LLC; Heartland Production and Recovery Fund LLC; Heartland Production and
 Recovery Fund II LLC; The Heartland Group Fund III, LLC; Heartland Drilling Fund I, LP; Carson Oil Field
 Development Fund II, LP.
 2
     Capitalized terms used but not otherwise defined herein shall have the meaning ascribed in the Receivership Order.

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 entered the Receivership Order, appointing Deborah D. Williamson of Dykema Gossett PLLC as

 the Receiver over the Receivership Estates.

        WHEREAS, Deborah D. Williamson has served as Receiver continuously since her

 appointment and continues to so serve;

        WHEREAS, the Receiver alleges that Locke and its attorneys, as counsel to certain of the

 Heartland-Related Receivership Parties in connection with oil-and-gas offerings and the

 Commission’s investigation, knew or should have known that the Heartland-Related Receivership

 Parties were violating securities laws, were not in compliance with Commission regulations, and

 were using investor funds to make improper payments, including interest payments to prior

 investors with new investor funds, undisclosed payments to insiders, and commissions to unlicensed

 sales representatives. The Receiver alleges that, despite this purported knowledge, Locke, inter alia,

 negligently advised the Heartland-Related Receivership Parties to maintain the status quo, failed to

 properly advise the Heartland-Related Receivership Parties of their disclosure obligations to

 investors, failed to review offering and other key documents for legal compliance for the protection

 of investors, and failed to advise the Heartland-Related Receivership Parties to cease raising new

 funds and avoid incurring additional liabilities to investors. The Receiver contends that if the

 Heartland-Related Receivership Parties had received that advice, they would have stopped raising

 new funds and would have avoided various categories of damages, including illegal or improper

 out-of-pocket payments. All the Receiver’s claims are referred to as the “Alleged Claims”;

        WHEREAS, Locke categorically denies the Alleged Claims and any and all allegations of

 wrongdoing, fault, liability, causation, or damages whatsoever and is entering into this Agreement

 solely to avoid the burden, very substantial expense, and risks of litigation;



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        WHEREAS, the Receiver and her advisors have conducted an investigation into the facts

 and the law relating to the Alleged Claims and after considering the results of that investigation

 and the benefits of this Settlement, as well as the burden, expense, and risks of litigation, have

 concluded that a settlement with Locke under the terms set forth below is fair, reasonable, adequate,

 and in the best interests of the Receiver, the Receivership Parties, the Heartland Investors, and all

 Persons affected by the Heartland-Related Receivership Parties, and have agreed to enter into the

 Settlement and this Agreement, and to use their best efforts to effectuate the Settlement and this

 Agreement;

        WHEREAS, the Parties desire to fully, finally, and forever compromise and effect a global

 settlement and discharge of all claims, disputes, and issues between them;

        WHEREAS, the Parties have engaged in extensive, good-faith, and arm’s-length

 negotiations, including participation in a formal mediation attended in person by representatives of

 the Parties, and in further discussions following the conclusion of such mediation, leading to this

 Agreement;

        WHEREAS, absent approval of this Settlement, the resolution of the Alleged Claims will

 likely take many more years and cost the Parties significant funds to litigate to final judgment and

 through appeals, and the outcome of all such litigation would be uncertain;

        WHEREAS, absent approval of this Settlement, the resolution of the Alleged Claims will

 require the filing of a Complaint, which will substantially redreuce the Receiver’s percentage of

 recovery because, under the contingent fee contract with the Receiver’s litigation counsel, the filing

 of a Complaint triggers an increase in counsel’s contingent fee to 40% from 25%.

        WHEREAS, the Parties acknowledge and agree that: (1) the origin of the Alleged Claims

 held and asserted by the Receiver are for the alleged injury and losses sustained by the Heartland-



                                                   3
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 Related Receivership Parties, which alleged losses also represent the destruction to the value of the

 capital invested in the Heartland-Related Receivership Parties by the Heartland Investors, and (2)

 the Receiver shall receive the settlement amount on behalf of such Heartland Investors in the

 Heartland-Related Receivership Parties for distribution to those Heartland Investors to reduce their

 damages for the injury and destruction to the value of their respective invested capital in one or

 more of the Heartland-Related Receivership Parties.

        WHEREAS, the Parties acknowledge and agree that the effectiveness of this Settlement

 Agreement is contingent on the Court entering an order including provisions by which the

 Receiver, the Receivership Parties, the Heartland Investors and certain other third parties are

 forever barred from asserting the Settled Claims against the Locke Released Parties (as defined

 below).

        NOW, THEREFORE, in consideration of the agreements, covenants, and releases set

 forth herein, and other good and valuable consideration, the receipt and sufficiency of which are

 hereby acknowledged, the Parties agree as follows:

 I. AGREEMENT DATE

           1.   This Agreement shall take effect once all Parties have signed the Agreement, and

 as of the date of the last signature to the Agreement (the “Agreement Date”).

 II. TERMS USED IN THIS AGREEMENT

        The following terms, as used in this Agreement and in the Proposed Order (attached as

 Exhibit 1), have the following meanings:

           2.   “Affiliate” means a Person that directly, or indirectly through one or more

 intermediaries, owns or controls, is owned or is controlled by, or is under common ownership or

 control with, another Person. As used herein, “control” means the power to direct the management



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 or affairs of a Person, and “ownership” means the beneficial ownership of at least 10% of the voting

 securities of the Person.

         3.       “Allowed Heartland Investor Claim” means a Claim held by a Heartland

 Investor, which (a) has not been objected to by the Receiver or, (b) has been objected to by the

 Receiver but has been allowed pursuant to entry of a final order of the Court.

         4.       “Attorneys’ Fees” means those fees and expenses awarded by the Court to

 Receiver’s counsel from the Settlement Amount pursuant to the terms of the applicable engagement

 agreement.

         5.       “Claim” means a Person’s potential or asserted right to receive funds from the

 Heartland Receivership Parties.

         6.       “Claimant” means any known investor in the Heartland Receivership Parties who has

 submitted a Claim to the Receiver or who has not disputed the Receiver’s proposed claim amount (the

 Net Transaction Amount).3 Where a Claim has been transferred to a third party and such transfer has

 been acknowledged by the Receiver, then the transferee is a Claimant, and the transferor is not a

 Claimant unless the transferor has retained a Claim that has not been transferred. Where the Receiver

 has sought to disallow a Claim and the disallowance has become Final, then the submission of the

 disallowed Claim does not make the Person who submitted it a Claimant.

         7.       “Confidential Information” means the communications and discussions in

 connection with the negotiations and mediation that led to the Settlement and this Agreement.




 3
  Known investors were mailed and emailed (where available) an investor notice with instructions and a proof of claim
 form, including a personalized transaction schedule detailing investment(s) and payment/disbursement information,
 on November 20, 2023. Known non-investor creditors were mailed and emailed (where available) a non-investor notice
 with instructions and a proof of claim form on November 20, 2023. Investors (if necessary) and other creditors were
 required to timely submit a proof of claim and all supporting documentation on or before February 5, 2024, at 11:59
 p.m. Central. See generally SEC Action ECF Nos. 408, 422, 431.

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 Confidential Information does not include the existence and terms of the Settlement and this

 Agreement when and after that Information is disclosed in a publicly available filing.

         8.      “Final” means unmodified after the conclusion of, or expiration of any right of any

 Person to pursue, any and all possible forms and levels of appeal, reconsideration, or review,

 judicial or otherwise, including by a court or Forum of last resort, wherever located, whether

 automatic or discretionary, whether by appeal or otherwise. The Proposed Order shall include

 findings under Federal Rule of Civil Procedure 54(b) and will become Final as set forth in this

 Paragraph as though such orders were entered as judgments at the end of a case, and the continuing

 pendency of the SEC Action shall not be construed as preventing such Proposed Order from

 becoming Final.

         9.      “Forum” means any court, adjudicative body, tribunal, or jurisdiction, whether its

 nature is federal, foreign, state, administrative, regulatory, arbitral, local, or otherwise.

         10.     “Hearing” means a formal proceeding in open court before the United States

 District Court Judge having jurisdiction over the SEC Action.

         11.     “Heartland-Related Receivership Parties” means the Receivership Parties that

 are Heartland entities. They are: The Heartland Group Ventures, LLC; Heartland Production and

 Recovery LLC; Heartland Production and Recovery Fund LLC; Heartland Production and

 Recovery Fund II LLC; The Heartland Group Fund III, LLC; Heartland Drilling Fund I, LP; and

 Carson Oil Field Development Fund II, LP.

         12.     “Heartland Investor” means any Person or Claimant with a Claim arising out of an

 investment in the form of a loan, promissory note or partnership interest in a Heartland-Related

 Receivership Party. Heartland Investor shall NOT include any Non-Receivership-Party Defendant




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 or Relief Defendant or any Affiliate, officer, director, equity holder, partner or member of any Non-

 Receivership-Party Defendant or Relief Defendant.

         13.    “Locke Released Parties” means Locke, and all of its predecessor firms and, of

 each of the foregoing: all of their respective past and present subsidiaries, parents, predecessors,

 affiliates, related entities and divisions, and all of their respective past, present, and future

 successors, and all of their respective current and former partners, members, counsel, principals,

 participating principals, associates, managing or other agents, management personnel, officers,

 directors, shareholders, administrators, servants, employees, staff, consultants, advisors, attorneys,

 accountants, lenders, insurers and reinsurers, representatives, successors and assigns, known or

 unknown, in their representative capacity or individual capacity. Notwithstanding the foregoing,

 “Locke Released Parties” shall not include any Person other than Locke who becomes employed

 by, related to, or affiliated with Locke after the Agreement Date and whose liability, if any, arises

 solely out of or derives solely from their actions or omissions at a time the Person was not employed

 by, related to, or affiliated with Locke.

         14.    “Net Settlement Proceeds” means the Settlement Amount ($12,500,000.00) less

 Attorney’s Fees and related expenses.

         15.    “Non-Receivership-Party Defendants or Relief Defendants” means the

 defendants and relief defendants in the SEC Action that are not Receivership Parties. They are

 James Ikey; John Muratore; Thomas Brad Pearsey; Manjit Singh (AKA Roger) Sahota; Rustin

 Brunson; Muratore Financial Services, Inc.; Bridy Ikey; IGroup Enterprises LLC; Harprit Sahota;

 Monrose Sahota; and Sunny Sahota.

         16.    “Person” means any individual, entity, governmental authority, agency or quasi-

 governmental person or entity, worldwide, of any type, including, without limitation, any



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 individual, partnership, corporation, limited liability company, estate, trust, committee, fiduciary,

 association, proprietorship, organization, or business, regardless of location, residence, or

 nationality.

         17.    “Receiver Released Parties” means each Heartland Investor, the Receiver, the

 Receivership Parties, and each of their counsel. Receiver Released Parties also includes each of the

 foregoing persons’ respective past, present, and future directors, officers, legal and equitable

 owners, shareholders, members, managers, principals, employees, associates, representatives,

 distributees, agents, attorneys, trustees, general and limited partners, lenders, insurers and

 reinsurers, direct and indirect parents, subsidiaries, affiliates, related entities, divisions,

 partnerships, corporations, executors, administrators, heirs, beneficiaries, assigns, predecessors,

 predecessors in interest, successors, and successors in interest.

         18.    “Receivership Parties” means The Heartland Group Ventures, LLC; Heartland

 Production and Recovery LLC; Heartland Production and Recovery Fund LLC; Heartland

 Production and Recovery Fund II LLC; The Heartland Group Fund III, LLC; Heartland Drilling

 Fund I, LP; Carson Oil Field Development Fund II, LP; Alternative Office Solutions, LLC; Arcooil

 Corp.; Barron Petroleum LLC; Dodson Prairie Oil & Gas LLC; Panther City Energy LLC;

 Encypher Bastion, LLC; Barron Energy Corporation; Dallas Resources Inc.; Leading Edge Energy,

 LLC; Sahota Capital LLC; and 1178137 B.C. LTD.

         19.    “Releasor” means any Person granting a release of any Settled Claim.

         20.    “Settled Claim” means any action, cause of action, suit, liability, claim, right of

 action, right of levy or attachment, or demand whatsoever, whether or not currently asserted, known,

 suspected, existing, or discoverable, and whether based on federal law, state law, foreign law,

 common law, or otherwise, and whether based on contract, tort, statute, law, equity or



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 otherwise, that a Releasor ever had, now has, or hereafter can, shall, or may have, directly,

 representatively, derivatively, or in any other capacity, for, upon, arising from, relating to, or by reason

 of any matter, cause, or thing whatsoever, that, in full or in part, concerns, relates to, arises out of, is

 derivative of, or is in any manner connected with (i) Locke’s relationship with any one or more of the

 Receivership Parties or the Non-Receivership-Party Defendants or Relief Defendants, and/or any of

 their personnel or Affiliates; (ii) Locke’s provision of services to or for the benefit of or on behalf of

 the Receivership Parties, the Non-Receivership-Party Defendants or Relief Defendants, and/or any of

 their Affiliates, or Locke’s agreement to provide such services; (iii) Locke’s involvement in any matter

 that was asserted in, could have been asserted in, or relates to the subject matter of the SEC Action, or

 any proceeding concerning the Receivership Parties pending or commenced in any Forum; or (iv)

 legal fees and costs paid or owed from the Receivership Parties or the Non-Receivership-Party

 Defendants or Relief Defendants, on the one hand, to Locke, on the other hand. Settled Claims

 specifically includes, without limitation, all claims each Releasor does not know or suspect to exist in

 his, her, or its favor at the time of release, which, if known by that Person, might have affected their

 decisions with respect to this Agreement and the Settlement (“Unknown Claims”). Each Releasor

 expressly waives, releases, and relinquishes any and all provisions, rights, and benefits conferred by

 any law or principle, in the United States or elsewhere, which governs or limits the release of unknown

 or unsuspected claims, including, without limitation, California Civil Code § 1542, which provides:

                 A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                 WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
                 EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
                 THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
                 HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                 WITH THE DEBTOR.




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 Each Releasor acknowledges that he, she, or it may hereafter discover facts different from, or in

 addition to, those which such Releasor now knows or believes to be true with respect to the Settled

 Claims, but nonetheless agrees that this Agreement, including the releases granted herein, will

 remain binding and effective in all respects notwithstanding such discovery. Unknown Claims

 include contingent and non-contingent claims, whether or not concealed or hidden, without regard

 to the subsequent discovery or existence of different or additional facts. These provisions

 concerning unknown and unsuspected claims and the inclusion of Unknown Claims in the

 definition of Settled Claims were separately bargained for and are an essential element of this

 Agreement and the Settlement.

        21.     “Settlement” means the agreed resolution of the Settled Claims in the manner set

 forth in this Agreement.

        22.     “Settlement Amount” means Twelve Million Five Hundred Thousand Dollars

 ($12,500,000.00) in United States currency.

        23.     “Settlement Effective Date” means the date on which the last of both of the

 following have occurred:

                 a. entry in the SEC Action of an order granting substantially the same relief as

                   described in the form attached hereto as Exhibit 1 (the “Proposed Order”),

                   and, specifically, which grants the Motion defined in Paragraph 29 below and

                   forever bars the assertion of any Settled Claims against Locke by any

                   Receivership Party, Heartland Investor, creditor of any Heartland-Related




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                     Receivership Party, and any Non-Receivership-Party Defendant or Relief

                    Defendant, and

                    b. the Court’s order described above in (a) has become Final.

         24.    “Taxes” means any and all taxes, whether federal, state, local, or other taxes related

 to the Settlement or the Settlement Amount, and costs incurred in connection with such taxation

 including, without limitation, the fees and expenses of tax attorneys and accountants.

 III. DELIVERY OF SETTLEMENT AMOUNT

         26.    Delivery of Settlement Amount: Within twenty (20) days after the Settlement

 Effective Date, Locke shall deliver or cause to be delivered the Settlement Amount to the Receiver

 by wire transfer. The Receiver shall provide wire instructions to Locke upon execution of this

 Settlement Agreement.

 IV. USE AND MANAGEMENT OF SETTLEMENT AMOUNT

        27.     Management and Distribution of Settlement Amount: If and when the Settlement

 Amount is delivered to the Receiver pursuant to the terms of this Agreement, the Receiver shall

 receive and take custody of the Settlement Amount and shall maintain, manage, and distribute the

 Net Settlement Proceeds under the supervision and direction of the Court. The Net Settlement

 Proceeds shall be distributed to Heartland Investors as returned capital pursuant to a subsequent order

 of the Court approving any such distributions. The Receiver shall be responsible for any Taxes,

 Attorneys’ Fees, fees, and expenses that may be due with respect to the Settlement Amount or the

 management, use, administration, or distribution of the Settlement Amount.

        28.     No Liability: Locke and the Locke Released Parties shall have no liability,

 obligation, or responsibility whatsoever with respect to the investment, management, use,

 administration, or distribution of the Settlement Amount or any portion thereof, including, but not

 limited to, the costs and expenses of such investment, management, use, administration, or

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 distribution of the Settlement Amount, and any Taxes arising therefrom or relating thereto. Nothing

 in this Paragraph shall alter Locke’s obligations to deliver the Settlement Amount to the Receiver

 pursuant to the terms of this Agreement.

 V. MOTION FOR SETTLEMENT APPROVAL AND PROPOSED ORDER

           29.   Motion: On a date mutually acceptable to the Parties that is not more than ninety

 (90) days from the Agreement Date, unless otherwise agreed by the Parties in writing, via e-mail

 or otherwise, the Receiver shall submit to the Court a motion (the “Motion”) requesting that the

 Court (a) set the date by which any objection to the Settlement or this Agreement must be filed;

 and (b) schedule a Hearing to consider final approval of the Settlement and the motion for entry of

 the Proposed Order. In advance of filing the motion papers to accomplish the foregoing, the

 Receiver shall provide Locke with a reasonable opportunity to review and comment on such motion

 papers.

           30.   Notice Preparation and Dissemination: The Receiver shall be responsible for the

 preparation and dissemination of notice regarding this Settlement and the proposed bar order as

 directed by the Court. In the absence of intentional refusal by the Receiver to prepare and

 disseminate notice pursuant to a court order, no Interested Party or any other Person shall have any

 recourse against the Receiver with respect to any claims that may arise from or relate to the notice

 process. In the case of intentional refusal by the Receiver to prepare and disseminate notice

 pursuant to a court order, Locke shall not have any claim against the Receiver other than the ability

 to seek specific performance. The Parties do not intend to give any other Person any right or

 recourse against the Receiver in connection with the notice process.

           31.   No Recourse Against Locke: No Interested Party or any other Person shall have any

 recourse against Locke or the Locke Released Parties with respect to any claims that may arise

 from or relate to the notice process.

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         32.    Motion Contents: In the motion papers referenced in Paragraph 29 above, the

 Receiver shall request that the Court, inter alia:

                a.      approve the Settlement and its terms as set out in this Agreement;

                b.      enter an order in the SEC Action finding that this Agreement and the releases

 set forth herein are final and binding on the Parties in accordance with its terms; and

                c.      enter an order in the SEC Action in substantially the same substance as the

 Proposed Order attached hereto as Exhibit 1, and which contains each of the findings,

 determinations, and orders for relief identified in Paragraph 35, items (b)(i)-(ix), by which the

 Court forever bars the assertion of any Settled Claims against Locke by any Receivership Party,

 Heartland Investor, creditor of any Heartland-Related Receivership Party, and any Non-

 Receivership-Party Defendant or Relief Defendant.

         33.    Parties to Advocate: The Parties shall take all reasonable steps to advocate for and

 encourage the Court to approve the terms of this Agreement.

         34.    No Challenge: No Party shall challenge the approval of the Settlement, and no Party

 will encourage or assist any Interested Party in challenging the Settlement.

 VI. RESCISSION IF THE SETTLEMENT IS NOT FINALLY APPROVED OR THE
 RELIEF IN THE PROPOSED ORDER IS NOT GRANTED

        35.       Right to Withdraw: The Parties represent and acknowledge that the following were

 necessary to the Parties’ agreement to this Settlement, are each an essential term of the Settlement

 and this Agreement, and that the Settlement would not have been reached in the absence of these

 terms: (a) Court approval of the Settlement and the terms of this Agreement without amendment or

 revision; (b) entry by the Court of an order in the SEC Action granting the substantially the same

 relief as that provided in the Proposed Order attached hereto as Exhibit 1, which (i) finds that the

 Settlement, including the required injunctions against Settled Claims, is in the best interest


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 of the Heartland Investors and the Heartland-Related Receivership Parties and their estates, (ii)

 approves the earmarking of the Net Settlement Proceeds as returned capital solely for the benefit of

 Heartland Investors pending future Court approval of any interim and/or final distribution, (iii) finds

 that the process by which Heartland Investors, creditors of Heartland-Related Receivership Parties,

 and Non-Receivership-Party Defendants or Relief Defendants were notified of the Settlement and

 Motion met all applicable requirements of law, (iv) grants the Motion, and (v) orders that the Locke

 Released Parties are fully released and discharged from any of the Settled Claims that the Receiver

 or the Receivership Parties ever had, now has, or may have hereafter, (vi) orders that the Heartland

 Released Parties are fully released and discharged from any of the Settled Claims that Locke ever

 had, now has, or may have hereafter, (vii) permanently bars, restrains, and enjoins the Receiver, the

 Receivership Parties, the Heartland Investors, the creditors of any Heartland-Related Receivership

 Party, and the Non-Receivership-Party Defendants and Relief Defendants from asserting any of the

 Settled Claims against the Locke Released Parties, (viii) expressly determines that there is no just

 reason for delaying the finality of the Order, and (ix) provides that the Order is final and appealable

 under Fed. R. Civ. P. 54(b); and (c) all such approvals and orders becoming Final, pursuant to

 Paragraph 8 of this Agreement. If the Court does not provide the approvals described in (a); if the

 Court does not grant the relief described in (b); or if the final result of any appeal from the approvals

 and orders described in (a) or (b) is that any of the approvals or orders are not affirmed, in their

 entirety and without material modification or limitation, then any Party has the right to withdraw its

 agreement to the Settlement and to this Agreement by providing to the other Party written notice of

 such withdrawal, within fourteen (14) days of the order or judicial determination giving rise to the

 right to withdraw. In the event that any Party withdraws its agreement to the Settlement or this

 Agreement as allowed in this



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 Paragraph, this Agreement will be null and void and of no further effect whatsoever, shall not be

 admissible in any ongoing or future proceedings for any purpose whatsoever (except for the

 provisions of this Paragraph, which shall survive), and shall not be the subject or basis for any

 claims by any Party against any other Party. If any Party withdraws from this Agreement pursuant

 to the terms of this Paragraph, then each Party shall be returned to such Party’s respective position

 immediately prior to such Party’s execution of the Agreement.

           36.   The Parties do not have the right to withdraw from, or otherwise terminate, the

 Agreement for any reason other than the reasons identified in Paragraph 35. The following

 paragraphs of this Agreement shall survive termination of the Agreement: Paragraphs 35, 36, 45,

 and 46.

 VII. DISTRIBUTION OF NET SETTLEMENT PROCEEDS

           37.   Duties: The Receiver, with the approval and guidance of the Court, shall be solely

 responsible for preparing, filing a motion seeking approval of, and implementing a process to

 receive, manage, and disburse the Net Settlement Proceeds. The Receiver owes no duties to Locke

 or the Locke Released Parties in connection with the distribution of the Net Settlement Proceeds,

 and if the Receiver complies with all orders issued by the Court relating to distribution of Net

 Settlement Proceeds, neither Locke nor the Locke Released Parties may assert any claim or cause

 of action against the Receiver in connection with the distribution of the Settlement Amount. In no

 event will the Receiver or the Receiver Released Parties be liable for damages or the payment or

 repayment of funds of any kind as a result of any deficiency associated with the distribution of the

 Settlement Amount.

           38.   Distribution by Check: The Receiver must include the following statement, without

 alteration (except that additional releasees may be included if the Receiver includes in the distribution

 check funds from settlements with such other releasees), on the reverse of all checks

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 sent to Claimants pursuant to the distribution of Net Settlement Proceeds, above where the endorser
 will sign:

                BY ENDORSING THIS CHECK, I RELEASE ALL CLAIMS,
                KNOWN OR NOT, AGAINST LOCKE LORD LLP, ITS
                PARTNERS, ATTORNEYS, AND EMPLOYEES (WHETHER
                CURRENT OR PAST) ARISING FROM OR RELATING TO THE
                HEARTLAND RECEIVERSHIP PARTIES OR ANY OF THEIR
                RELATED ENTITIES AND ACCEPT THIS PAYMENT IN FULL
                SATISFACTION THEREOF.

        39.     No Responsibility: Locke and the Locke Released Parties shall have no

 responsibility, obligation, or liability whatsoever with respect to the terms, interpretation, or

 implementation of the distribution of the Settlement Amount; the administration of the Settlement;

 the management, investment, or distribution of the Settlement Amount or any other funds paid or

 received in connection with the Settlement; the payment or withholding of Taxes that may be due

 or owing by the Receiver or any recipient of funds from the Settlement Amount; the determination,

 administration, calculation, review, or challenge of claims to the Settlement Amount, any portion

 of the Settlement Amount, or any other funds paid or received in connection with the Settlement or

 this Agreement; or any losses, attorneys’ fees, expenses, vendor payments, expert payments, or other

 costs incurred in connection with any of the foregoing matters. As of the Settlement Effective Date,

 the Receiver and all other Persons the Receiver represents or on whose behalf the Receiver has been

 empowered to act by any court fully, finally, and forever release, relinquish, and discharge Locke

 and the Locke Released Parties from any and all such responsibility, obligation, and liability.

 VIII. RELEASES, COVENANT NOT TO SUE, AND PERMANENT INJUNCTION

        40.     Release of Locke Released Parties: As of the Settlement Effective Date, the

 Receiver, on behalf of the Receivership Parties, fully, finally, and forever releases, relinquishes, and

 discharges, with prejudice, all Settled Claims against Locke and the Locke Released Parties.

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         41.     Release of Receiver Released Parties: As of the Settlement Effective Date, Locke

 fully, finally, and forever releases, relinquishes, and discharges, with prejudice, all Settled Claims

 against the Receiver and the Receiver Released Parties.

         42.     No Release of Obligations Under Agreement: Notwithstanding anything to the

 contrary in this Agreement, the releases and covenants contained in this Agreement do not release

 the Parties’ rights and obligations under this Agreement or the Settlement, nor do they bar the

 Parties from enforcing or effectuating this Agreement or the Settlement.

         43.     Covenant Not to Sue: Effective as of the Agreement Date, the Receiver covenants not

 to, directly or indirectly, or through a third party, institute, reinstitute, initiate, commence, maintain,

 continue, file, encourage, solicit, support, participate in, collaborate in, or otherwise prosecute against

 any of the Locke Released Parties any action, lawsuit, cause of action, claim, investigation, demand,

 complaint, or proceeding, whether individually, derivatively, on behalf of a class, as a member of a

 class, or in any other capacity whatsoever, concerning or relating to the Settled Claims, whether in a

 court or any other Forum. Effective as of the Agreement Date, Locke covenants not to, directly or

 indirectly, or through a third party, institute, reinstitute, initiate, commence, maintain, continue, file,

 encourage, solicit, support, participate in, collaborate in, or otherwise prosecute against any of the

 Receiver Released Parties any action, lawsuit, cause of action, claim, investigation, demand,

 complaint, or proceeding, whether individually, derivatively, on behalf of a class, as a member of a

 class, or in any other capacity whatsoever, concerning or relating to the Settled Claims, whether in a

 court or any other Forum. Notwithstanding the foregoing, however, the Parties retain the right to sue

 for alleged breaches of this Agreement.

 IX. REPRESENTATIONS AND WARRANTIES

         44.     Authority: Each person executing this Agreement or any related documents

 represents and warrants that he or she has the full authority to execute the Agreement on behalf of

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 the entity each represents and that each has the authority to take appropriate action required or

 permitted to be taken pursuant to this Agreement to effectuate its terms.

 X. NO ADMISSION OF FAULT OR WRONGDOING

         45.     The Settlement, this Agreement, and the negotiation and mediation thereof shall in

 no way constitute, be construed as, or be evidence of an admission or concession of any violation of

 any statute or law; of any fault, liability, or wrongdoing; or of any infirmity in the claims or defenses

 of the Parties with regard to any of the complaints, claims, allegations, or defenses asserted or that

 could have been asserted in or any proceeding relating to any Settled Claim, or any other proceeding

 in any Forum. The Settlement and this Agreement are a resolution of disputed claims reached in order

 to avoid the risk and very substantial expense of protracted litigation. The Settlement, this

 Agreement, and evidence thereof shall not be used, directly or indirectly, in any way, in the SEC

 Action or in any other proceeding, other than to enforce the terms of the Settlement and this

 Agreement.

 XI. CONFIDENTIALITY

         46.     Confidentiality: Except as necessary to obtain Court approval of this Agreement,

 to provide the notices as required by this Agreement, or to enforce and effectuate the terms of the

 Settlement and this Agreement, the Parties will keep confidential and shall not publish,

 communicate, or otherwise disclose, directly or indirectly, in any manner whatsoever, Confidential

 Information to any Person, except (i) as required pursuant to law, regulation, or order of the Court;

 (ii) to Locke’s partners, members, insurers, or potential insurers, on a confidential or attorney-client

 basis; (iii) to the Parties’ respective accountants, auditors, bankers, and attorneys on a confidential

 or attorney-client basis; (iv) Commission counsel; and (v) with prior written consent from the other

 Party, which may be transmitted by e-mail.



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 XII. NON-DISPARAGEMENT

          47.   In connection with the Settlement and this Agreement, the Receiver shall not make,

 disseminate, or publish any statement outside of Court, including a statement in the press, that would

 denigrate or embarrass Locke, or that is otherwise negative or derogatory towards Locke. Nor shall

 the Receiver respond to or publicly comment about any inquiry from the press regarding the

 Settlement and this Agreement, other than to state, “no comment.” Nothing in this paragraph shall

 prevent the Receiver from making any statement in Court regarding Locke, nor shall this paragraph

 prevent the Receiver from taking any step she believes, in her sole and absolute discretion, is

 necessary to enforce the Settlement or this Agreement. Nothing in this paragraph shall prevent the

 Receiver from reporting her activities to the Court or the Commission, responding as necessary to

 inquiries from the Court or other governmental authorities, or carrying out any of her duties under

 any order addressing the scope of the Receiver’s duties, including but not limited to the Receivership

 Order.

          48.   In connection with the Settlement and this Agreement, Locke shall not make,

 disseminate, or publish any statement outside of Court, including a statement in the press, which

 would denigrate or embarrass the Receiver or the Commission. Nor shall Locke respond to or

 publicly comment about any inquiry from the press regarding the Settlement and this Agreement,

 other than to state, “no comment.” Nothing in this paragraph shall prevent Locke from making any

 statement in Court regarding the Receiver or the Commission, nor shall this paragraph prevent

 Locke from taking any step it believes, in its sole and absolute discretion, is necessary to enforce

 the Settlement or this Agreement.

 XIII. MISCELLANEOUS

          49.   Final and Complete Resolution: The Parties intend this Agreement and the

 Settlement to be and constitute a final, complete, and worldwide resolution of all matters and

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 disputes between (1) the Receiver Released Parties, on the one hand, and (2) the Locke Released

 Parties on the other hand, and this Agreement, including its exhibits, shall be interpreted to

 effectuate this purpose.

        50.     Binding Agreement: As of the Agreement Date, this Agreement shall be binding

 upon and shall inure to the benefit of the Parties and their respective heirs, executors,

 administrators, successors, and assigns. No Party may assign any of its rights or obligations under

 this Agreement without the express written consent of the other Parties.

        51.     Incorporation of Recitals: The Recitals contained in this Agreement are essential

 terms of this Agreement and are incorporated herein for all purposes.

        52.     Disclaimer of Reliance: The Parties represent and acknowledge that in negotiating

 and entering into the Settlement and this Agreement they have not relied on, and have not been

 induced by, any representation, warranty, statement, estimate, communication, or information, of

 any nature whatsoever, whether written or oral, by, on behalf of, or concerning any Party, any agent

 of any Party, or otherwise, except as expressly set forth in this Agreement. To the contrary, each of

 the Parties affirmatively represents and acknowledges that the Party is relying solely on the express

 terms contained within this Agreement. The Parties have each consulted with legal counsel and

 advisors, have considered the advantages and disadvantages of entering into the Settlement and this

 Agreement, and have relied solely on their own judgment and the advice of their respective legal

 counsel in negotiating and entering into the Settlement and this Agreement.

        53.     Third-Party Beneficiaries: This Agreement is not intended to and does not create

 rights enforceable by any Person other than the Parties (or their respective heirs, executors,

 administrators, successors, and assigns, as provided in Paragraph 50 of this Agreement), except that

 if this Agreement provides that a Person is released or should not be sued as a consequence of



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 a covenant not to sue, then such Person may enforce the release or covenant not to sue as it relates

 to said Person.

        54.        Negotiation, Drafting, and Construction: The Parties agree and acknowledge that

 they each have reviewed and cooperated in the preparation of this Agreement, that no Party should

 or shall be deemed the drafter of this Agreement or any provision hereof, and that any rule,

 presumption, or burden of proof that would construe this Agreement, any ambiguity, or any other

 matter, against the drafter shall not apply and is waived. The Parties are entering into this

 Agreement freely, after good-faith, arm’s-length negotiation, with the advice of counsel, and in the

 absence of coercion, duress, and undue influence. The titles and headings in this Agreement are for

 convenience only, are not part of this Agreement, and shall not bear on the meaning of this

 Agreement. The words “include,” “includes,” or “including” shall be deemed to be followed by the

 words “without limitation.” The words “and” and “or” shall be interpreted broadly to have the most

 inclusive meaning, regardless of any conjunctive or disjunctive tense. Words in the masculine,

 feminine, or neuter gender shall include any gender. The singular shall include the plural and vice

 versa. “Any” shall be understood to include and encompass “all,” and “all” shall be understood to

 include and encompass “any.”

        55.        Cooperation: The Parties agree to execute any additional documents reasonably

 necessary to finalize and carry out the terms of this Agreement. In the event a third party or any

 Person other than a Party at any time challenges any term of this Agreement or the Settlement,

 including the Proposed Order, the Parties agree to cooperate with each other, including using

 reasonable efforts to make documents or personnel available as needed to defend any such




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 challenge. Further, the Parties shall reasonably cooperate to defend and enforce each of the orders
 required under Paragraph 35 of this Agreement.

        56.        Notice: Any notices, documents, or correspondence of any nature required to be

 sent pursuant to this Agreement shall be transmitted by both e-mail and overnight delivery to the

 following recipients, and will be deemed transmitted upon acknowledged receipt or receipt by the

 overnight delivery service.

                       If to the Receiver:

                       William T. Reid IV (wreid@reidcollins.com)
                       Keith Y. Cohan (kcohan@reidcollins.com)
                       Morgan M. Menchaca (mmenchaca@reidcollins.com)
                       REID COLLINS & TSAI LLP
                       1301 S. Capital of Texas Hwy
                       Suite C300
                       Austin, TX 78746
                       Telephone: (512) 647-6100

                       Deborah D. Williamson (dwilliamson@dykema.com)
                       Danielle Rushing Behrends (dbehrends@dykema.com)
                       DYKEMA GOSSETT PLLC
                       112 East Pecan Street, Suite 1800
                       San Antonio, Texas 78205
                       Telephone: (210) 554-5500
                       Facsimile: (210) 226-8395

                       Rose L. Romero
                       State Bar No. 17224700
                       Rose.Romero@RomeroKozub.com
                       LAW OFFICES OF ROMERO | KOZUB
                       235 N.E. Loop 820, Suite 310
                       Hurst, Texas 76053
                       Telephone: (682) 267-1351

                       If to Locke:

                       Sarah Raggio (sarah.raggio@lockelord.com)
                       LOCKE LORD LLP
                       2200 Ross Avenue
                       Suite 2800
                       Dallas, TX 75201
                       T: 214-740-8464

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                            Paul Koning (paul.koning@koningrubarts.com)
                          KONING RUBARTS LLP
                          1700 Pacific Avenue
                          Suite 4500
                          Dallas, Texas 75201
                          Telephone: (214) 751-7900

                            Charlene Koonce (charlene@brownfoxlaw.com)
                          BROWN FOX PLLC
                          8111 Preston Road
                          Suite 300
                          Dallas, Texas 75225
                          Telephone: (214) 327-5000

 Each Party shall provide notice of any change to the service information set forth above to all other

 Parties by the means set forth in this paragraph.

        57.     Choice of Law: This Agreement shall be governed by and construed and enforced

 in accordance with the laws of the State of Texas, without regard to the choice-of-law principles

 of Texas or any other jurisdiction.

        58.     Mandatory, Exclusive Forum Selection Clause: Any dispute, controversy, or claim

 arising out of or related to the Settlement or this Agreement, including breach, interpretation, effect,

 or validity of this Agreement, whether arising in contract, tort, or otherwise, shall be brought

 exclusively in the United States District Court for the Northern District of Texas, Fort Worth

 Division. With respect to any such action, the Parties irrevocably stipulate and consent to personal

 and subject matter jurisdiction and venue in such court, and waive any argument that such court is

 inconvenient, improper, or otherwise an inappropriate Forum.

        59.     United States Currency: All dollar amounts in this Agreement are expressed in

 United States dollars.

        60.     Timing: If any deadline imposed by this Agreement falls on a non-business day,

 then the deadline is extended until the next business day.


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        61.     Waiver: The waiver by a Party of any breach of this Agreement by another Party

 shall not be deemed a waiver of any other prior or subsequent breach of this Agreement.

        62.     Exhibits: The exhibits annexed to this Agreement are incorporated by reference as

 though fully set forth in this Agreement.

        63.     Integration and Modification: This Agreement sets forth the entire understanding

 and agreement of the Parties with respect to the subject matter of this Agreement and supersedes

 all prior agreements, understandings, negotiations, and communications, whether oral or written,

 with respect to such subject matter, including the Term Sheet signed by the Parties prior to this

 Agreement. Neither this Agreement, nor any provision or term of this Agreement, may be

 amended, modified, revoked, supplemented, waived, or otherwise changed except by a writing

 signed by both Parties.

        64.     Counterparts and Signatures: This Agreement may be executed in one or more

 counterparts, each of which for all purposes shall be deemed an original but all of which taken

 together shall constitute one and the same instrument. A signature delivered by electronic means shall

 be deemed to be, and shall have the same binding effect as, a handwritten, original signature.




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        IN WITNESS HEREOF, the Parties have executed this Agreement signifying their
 agreement to the foregoing terms.




        By: Deborah D. Williamson
        In her capacity as the Receiver for the Receivership Parties

        Date:




        LOCKE LORD LLP

        By:

        Its: Deputy General Counsel- Claims

        Date: 3/28/24




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              3/27/24
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                           EXHIBIT 1 (Proposed Order)




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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF
                       TEXAS FORT WORTH DIVISION

 UNITED STATES SECURITIES               §
 AND EXCHANGE COMMISSION,               §
                                        §
            Plaintiff,                  §
                                        §
                       v.               §
                                        §
 THE HEARTLAND GROUP VENTURES, LLC;     §
 HEARTLAND PRODUCTION AND RECOVERY §
 LLC; HEARTLAND PRODUCTION AND          §
 RECOVERY FUND LLC; HEARTLAND           §
 PRODUCTION AND RECOVERY FUND II LLC; §
 THE HEARTLAND GROUP FUND III, LLC;     §
 HEARTLAND DRILLING FUND I, LP; CARSON §
 OIL FIELD DEVELOPMENT FUND II, LP;     §
 ALTERNATIVE OFFICE SOLUTIONS, LLC;     §
 ARCOOIL CORP.; BARRON PETROLEUM LLC; §
 JAMES IKEY; JOHN MURATORE; THOMAS      §
 BRAD PEARSEY; MANJIT SINGH (AKA ROGER) §         No. 4:21-cv-1310-O-BP
 SAHOTA; and RUSTIN BRUNSON,            §
                                        §
            Defendants,                 §
                                        §
                                        §
                                        §
                       and              §
                                        §
 DODSON PRAIRIE OIL & GAS LLC; PANTHER §
 CITY ENERGY LLC; MURATORE FINANCIAL    §
 SERVICES, INC.; BRIDY IKEY; ENCYPHER   §
 BASTION, LLC; IGROUP ENTERPRISES LLC;  §
 HARPRIT SAHOTA; MONROSE SAHOTA;        §
 SUNNY SAHOTA; BARRON ENERGY            §
 CORPORATION; DALLAS RESOURCES INC.;    §
 LEADING EDGE ENERGY, LLC; SAHOTA       §
 CAPITAL LLC; and 1178137 B.C. LTD.,    §
                                        §
            Relief Defendants.          §
                                        §
                                        §

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         ORDER GRANTING RECEIVER’S MOTION (I) TO APPROVE PROPOSED
      SETTLEMENT WITH FORMER COUNSEL TO CERTAIN HEARTLAND-RELATED
      RECEIVERSHIP PARTIES (II) TO ENTER A BAR ORDER, AND (III) TO APPROVE
     PAYMENT OF FEES AND EXPENSES OF REID COLLINS & TSAI LLP, LITIGATION
                            COUNSEL TO RECEIVER

         Came on to be heard the Receiver’s Motion (I) To Approve Proposed Settlement with Former

 Counsel to Certain Heartland-Related Receivership Parties, (II) To Enter a Bar Order, and (III) To

 Approve Payment of Fees and Expenses of Reid Collins & Tsai LLP, Litigation Counsel to Receiver (the

 “Motion”).4 After considering the Receiver’s Motion, all objections or responses thereto, if

 any, all evidence submitted to the Court, and the arguments of counsel, the Court is of the

 opinion that said Motion should be GRANTED in all respects.

 It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

                1.       The Court has “broad powers and wide discretion to determine the appropriate

        relief in [this] equity receivership,” including the authority to enter this Order. SEC v. Kaleta, 530

        Fed. App’x 360, 362 (5th Cir. 2013) (internal quotations omitted). Moreover, the Court has

        jurisdiction over the subject matter of this Case, and the Receiver is a proper party to seek entry

        of this Order.

                2.       The Court finds that the methodology, form, content, and dissemination of

        notice were reasonably calculated, under the circumstances, to apprise all Heartland Investors,

        creditors of Heartland-Related Receivership Parties, or Non-Receivership-Party Defendants or

        Relief Defendants of the Settlement, the releases therein, and the injunctions provided for in this

        Order, and of the right to object to the Settlement, this Order, and to appear at the hearing on

        the Motion. The Court further finds that the notice met all applicable




 Capitalized terms used but not otherwise described herein shall have the meaning ascribed in the
 4


 Motion and the Settlement Agreement attached to the Motion.

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      requirements of law and provided all persons a full and fair opportunity to be heard on these

      matters.

              3.        The Court finds that the Settlement, including the Settlement Agreement, was

      reached following an extensive investigation of the facts and resulted from vigorous, good faith,

      arms-length, mediated negotiations involving experienced and competent counsel. The Court

      further finds that (i) significant issues exist as to the merits and value of the claims asserted

      against Locke by the Receiver and by others whose potential claims are foreclosed by this Order;

      (ii) such claims contain complex and novel issues of law and fact that would require a substantial

      amount of time and expense to litigate, with uncertainty regarding whether such claims would

      be successful; (iii) a significant risk exists that future litigation costs may result in an ultimate

      lower recovery; (iv) Heartland Investors who have allowed claims with the Receiver will

      ultimately benefit from the Settlement Amount being paid pursuant to the Settlement; and (v)

      Locke would not have agreed to the terms of the Settlement in the absence of this Order and

      assurance of “total peace” with respect to all claims that have been, or could be, asserted arising

      from its relationship with the Heartland Receivership Parties. See SEC v. Kaleta, No. 4:09-

      3674, 2012 U.S. Dist. LEXIS 14880, at *34 (S.D. Tex. Feb. 7, 2012) (approving these factors

      for consideration in evaluating whether a settlement and bar order are sufficient, fair, and

      necessary). Additionally, the Court finds that any Settled Claims that Heartland Investors,

      creditors of Heartland-Related Receivership Parties, or Non-Receivership-Party Defendants or

      Relief Defendants may hold against Locke are derivative of and dependent on the Receiver’s

      claims, “compete for the same dollars” available to satisfy such claims, and any claims held by

      such parties against Locke therefore




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      affect Receivership Assets. See Zacarias v. Stanford Int'l Bank, Ltd., 945 F.3d 883, 900 (5th

      Cir. 2019).

             4.      The injunction against the Settled Claims, as set forth herein, is therefore a

      necessary and appropriate order ancillary to the relief obtained for Heartland Investors

      pursuant to the Settlement. The Court concludes that the Settlement is the best option for

      maximizing the net amount recovered from Locke for the Heartland-Related Receivership

      Parties and the Heartland Investors.

             5.      The Court further finds that the Receiver’s claims process and the proposed

      distribution plan (subject to further Order of the Court) contemplated in the Settlement

      Agreement and the Motion have been designed to ensure that all Heartland Investors and

      creditors of Heartland-Related Receivership Parties have received an opportunity to pursue

      their claims against any Heartland-Related Receivership Party through the Receiver’s claims

      process, which was previously approved by the Court. See ECF No. 431.

             6.      Accordingly, the Court finds that the Settlement is, in all respects, fair,

      reasonable, and adequate, and in the best interests of all persons claiming an interest in,

      having authority over, or asserting a claim against Locke or the Heartland-Related

      Receivership Parties. The Court also finds that this Order is a necessary component to

      achieve the Settlement. The Settlement, the terms of which are set forth in the Settlement

      Agreement, is hereby fully and finally APPROVED. The Parties are directed to implement

      and consummate the Settlement in accordance with the terms and provisions of the

      Settlement Agreement and this Order.

             7.      Pursuant to Paragraph 40 of the Settlement Agreement, as of the Settlement

      Effective Date, Locke and all of the other Locke Released Parties, shall be fully, finally, and



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      forever released and discharged from any action, cause of action, suit, liability, claim, right of

      action, right of levy or attachment, or demand whatsoever, whether or not currently asserted,

      known, suspected, existing, or discoverable, and whether based on federal law, state law,

      foreign law, common law, or otherwise, and whether based on contract, tort, statute, law, equity

      or otherwise, that the Receiver or the Receivership Parties ever had, now has, or hereafter can,

      shall, or may have, directly, representatively, derivatively, or in any other capacity, for, upon,

      arising from, relating to, or by reason of any matter, cause, or thing whatsoever, that, in full or

      in part, concerns, relates to, arises out of, is derivative of, or is in any manner connected with

      the Settled Claims, as defined in the Settlement Agreement.

              8.     Pursuant to Paragraph 41 of the Settlement Agreement, as of the Settlement

      Effective Date, the Receiver and all of the other Receiver Released Parties, shall be fully,

      finally, and forever released and discharged from any action, cause of action, suit, liability,

      claim, right of action, right of levy or attachment, or demand whatsoever, whether or not

      currently asserted, known, suspected, existing, or discoverable, and whether based on federal

      law, state law, foreign law, common law, or otherwise, and whether based on contract, tort,

      statute, law, equity or otherwise, that Locke ever had, now has, or hereafter can, shall, or may

      have, directly, representatively, derivatively, or in any other capacity, for, upon, arising from,

      relating to, or by reason of any matter, cause, or thing whatsoever, that, in full or in part,

      concerns, relates to, arises out of, is derivative of, or is in any manner connected with the Settled

      Claims, as defined in the Settlement Agreement.

              9.     Notwithstanding anything to the contrary in this Order, the foregoing releases do

      not release the Parties’ rights and obligations under the Settlement or the Settlement Agreement

      or bar the Parties from enforcing or effectuating the terms of the Settlement or



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      the Settlement Agreement. Further, the foregoing releases do not bar or release any claims

      that Locke may have against any Locke Released Party, including but not limited to Locke’s

      insurers, reinsurers, employees, and agents.

              10.     The Court hereby permanently bars, restrains, and enjoins the Receiver, the

      Receivership Parties, the Heartland Investors, the creditors of any Heartland-Related

      Receivership Party, and the Non-Receivership-Party Defendants and Relief Defendants,

      whether acting in concert with the foregoing or claiming by, through, or under the foregoing, or

      otherwise, all and individually, from directly, indirectly, or through a third party, instituting,

      reinstituting, intervening in, initiating, commencing, maintaining, continuing, filing,

      encouraging, soliciting, supporting, participating in, collaborating in, or otherwise prosecuting,

      against Locke or any of the Locke Released Parties, any action, lawsuit, cause of action, liability,

      claim, investigation, demand, levy, complaint, or proceeding of any nature in any forum,

      including, without limitation, any court of first instance or any appellate court, whether

      individually, derivatively, on behalf of a class, as a member of a class, or in any other capacity

      whatsoever, that in any way relates to, is based upon, arises from, or is connected with the Settled

      Claims, as defined in the Settlement Agreement.

              11.     Nothing in this Order or the Settlement Agreement and no aspect of the

      Settlement or negotiation or mediation thereof is or shall be construed to be an admission or

      concession of any violation of any statute or law, of any fault, liability, or wrongdoing, or of

      any infirmity in the claims or defenses of the Parties with regard to any complaints, claims,

      allegations, or defenses.

              12.     Without in any way affecting the finality or enforceability of this Order, the

      Court retains continuing and exclusive jurisdiction over the Parties for purposes of, among



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      other things, the administration, interpretation, consummation, and enforcement of the

      Settlement, the Settlement Agreement, and this Order, including, without limitation, the

      injunctions, bar orders, and releases herein, and to enter orders concerning implementation

      of the Settlement, the Settlement Agreement, any distribution plan, and any payment of

      attorneys’ fees and expenses to RCT.

             13.     Within five (5) business days of entry, this Order shall be served by counsel

      for the Receiver, via email, first class mail, or international delivery service, on any person

      or entity that filed an objection to approval of the Settlement, the Settlement Agreement, or

      the Motion.

             14.     The Court expressly determines that there is no just reason for delaying the

      finality of this Order and that this Order is final and appealable under FED. R. CIV. P. 54(b).




 Signed this ___day of ____________ , 2024.


                                                      HAL R. RAY, JR.
                                                      UNITED STATES MAGISTRATE JUDGE




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 Prepared and submitted by:

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 COUNSEL TO RECEIVER




                                      34
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                          EXHIBIT B (Proposed Order)




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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

 UNITED STATES SECURITIES               §
 AND EXCHANGE COMMISSION,               §
                                        §
             Plaintiff,                 §
                                        §
                      v.                §
                                        §
 THE HEARTLAND GROUP VENTURES, LLC;     §
 HEARTLAND PRODUCTION AND RECOVERY §
 LLC; HEARTLAND PRODUCTION AND          §
 RECOVERY FUND LLC; HEARTLAND           §
 PRODUCTION AND RECOVERY FUND II LLC; §
 THE HEARTLAND GROUP FUND III, LLC;     §
 HEARTLAND DRILLING FUND I, LP; CARSON §
 OIL FIELD DEVELOPMENT FUND II, LP;     §
 ALTERNATIVE OFFICE SOLUTIONS, LLC;     §
 ARCOOIL CORP.; BARRON PETROLEUM LLC; §
 JAMES IKEY; JOHN MURATORE; THOMAS      §
 BRAD PEARSEY; MANJIT SINGH (AKA ROGER) §         No. 4:21-cv-1310-O-BP
 SAHOTA; and RUSTIN BRUNSON,            §
                                        §
             Defendants,                §
                                        §
                                        §
                                        §
                      and               §
                                        §
 DODSON PRAIRIE OIL & GAS LLC; PANTHER §
 CITY ENERGY LLC; MURATORE FINANCIAL §
 SERVICES, INC.; BRIDY IKEY; ENCYPHER   §
 BASTION, LLC; IGROUP ENTERPRISES LLC; §
 HARPRIT SAHOTA; MONROSE SAHOTA;        §
 SUNNY SAHOTA; BARRON ENERGY            §
 CORPORATION; DALLAS RESOURCES INC.;    §
 LEADING EDGE ENERGY, LLC; SAHOTA       §
 CAPITAL LLC; and 1178137 B.C. LTD.,    §
                                        §
             Relief Defendants.         §
                                        §
                                        §


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     ORDER GRANTING RECEIVER’S MOTION (I) TO APPROVE PROPOSED
  SETTLEMENT WITH FORMER COUNSEL TO CERTAIN HEARTLAND-RELATED
  RECEIVERSHIP PARTIES (II) TO ENTER A BAR ORDER, AND (III) TO APPROVE
 PAYMENT OF FEES AND EXPENSES OF REID COLLINS & TSAI LLP, LITIGATION
                        COUNSEL TO RECEIVER

          Came on to be heard the Receiver’s Motion (I) To Approve Proposed Settlement with

 Former Counsel to Certain Heartland-Related Receivership Parties, (II) To Enter a Bar Order,

 and (III) To Approve Payment of Fees and Expenses of Reid Collins & Tsai LLP, Litigation

 Counsel to Receiver (the “Motion”).1 After considering the Receiver’s Motion, all objections or

 responses thereto, if any, all evidence submitted to the Court, and the arguments of counsel, the

 Court is of the opinion that said Motion should be GRANTED in all respects.

 It is hereby ORDERED, ADJUDGED, AND DECREED as follows:

                    1.   The Court has “broad powers and wide discretion to determine the appropriate

        relief in [this] equity receivership,” including the authority to enter this Order. SEC v. Kaleta,

        530 Fed. App’x 360, 362 (5th Cir. 2013) (internal quotations omitted). Moreover, the Court

        has jurisdiction over the subject matter of this Case, and the Receiver is a proper party to

        seek entry of this Order.

                    2.   The Court finds that the methodology, form, content, and dissemination of

        notice were reasonably calculated, under the circumstances, to apprise all Heartland

        Investors, creditors of Heartland-Related Receivership Parties, or Non-Receivership-Party

        Defendants or Relief Defendants of the Settlement, the releases therein, and the injunctions

        provided for in this Order, and of the right to object to the Settlement, this Order, and to

        appear at the hearing on the Motion. The Court further finds that the notice met all applicable



 1
  Capitalized terms used but not otherwise described herein shall have the meaning ascribed in the Motion and the
 Settlement Agreement attached to the Motion.



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        requirements of law and provided all persons a full and fair opportunity to be heard on these

        matters.

                    3.   The Court finds that the Settlement, including the Settlement Agreement, was

        reached following an extensive investigation of the facts and resulted from vigorous, good

        faith, arms-length, mediated negotiations involving experienced and competent counsel. The

        Court further finds that (i) significant issues exist as to the merits and value of the claims

        asserted against Locke by the Receiver and by others whose potential claims are foreclosed

        by this Order; (ii) such claims contain complex and novel issues of law and fact that would

        require a substantial amount of time and expense to litigate, with uncertainty regarding

        whether such claims would be successful; (iii) a significant risk exists that future litigation

        costs may result in an ultimate lower recovery; (iv) Heartland Investors who have allowed

        claims with the Receiver will ultimately benefit from the Settlement Amount being paid

        pursuant to the Settlement; and (v) Locke would not have agreed to the terms of the

        Settlement in the absence of this Order and assurance of “total peace” with respect to all

        claims that have been, or could be, asserted arising from its relationship with the Heartland

        Receivership Parties. See SEC v. Kaleta, No. 4:09-3674, 2012 U.S. Dist. LEXIS 14880, at

        *34 (S.D. Tex. Feb. 7, 2012) (approving these factors for consideration in evaluating whether

        a settlement and bar order are sufficient, fair, and necessary). Additionally, the Court finds

        that any Settled Claims that Heartland Investors, creditors of Heartland-Related Receivership

        Parties, or Non-Receivership-Party Defendants or Relief Defendants may hold against Locke

        are derivative of and dependent on the Receiver’s claims, “compete for the same dollars”

        available to satisfy such claims, and any claims held by such parties against Locke therefore




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        affect Receivership Assets. See Zacarias v. Stanford Int'l Bank, Ltd., 945 F.3d 883, 900 (5th

        Cir. 2019).

                    4.   The injunction against the Settled Claims, as set forth herein, is therefore a

        necessary and appropriate order ancillary to the relief obtained for Heartland Investors

        pursuant to the Settlement. The Court concludes that the Settlement is the best option for

        maximizing the net amount recovered from Locke for the Heartland-Related Receivership

        Parties and the Heartland Investors.

                    5.   The Court further finds that the Receiver’s claims process and the proposed

        distribution plan (subject to further Order of the Court) contemplated in the Settlement

        Agreement and the Motion have been designed to ensure that all Heartland Investors and

        creditors of Heartland-Related Receivership Parties have received an opportunity to pursue

        their claims against any Heartland-Related Receivership Party through the Receiver’s claims

        process, which was previously approved by the Court. See ECF No. 431.

                    6.   Accordingly, the Court finds that the Settlement is, in all respects, fair,

        reasonable, and adequate, and in the best interests of all persons claiming an interest in,

        having authority over, or asserting a claim against Locke or the Heartland-Related

        Receivership Parties. The Court also finds that this Order is a necessary component to

        achieve the Settlement. The Settlement, the terms of which are set forth in the Settlement

        Agreement, is hereby fully and finally APPROVED. The Parties are directed to implement

        and consummate the Settlement in accordance with the terms and provisions of the

        Settlement Agreement and this Order.

                    7.   Pursuant to Paragraph 40 of the Settlement Agreement, as of the Settlement

        Effective Date, Locke and all of the other Locke Released Parties, shall be fully, finally, and




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        forever released and discharged from any action, cause of action, suit, liability, claim, right

        of action, right of levy or attachment, or demand whatsoever, whether or not currently

        asserted, known, suspected, existing, or discoverable, and whether based on federal law, state

        law, foreign law, common law, or otherwise, and whether based on contract, tort, statute,

        law, equity or otherwise, that the Receiver or the Receivership Parties ever had, now has, or

        hereafter can, shall, or may have, directly, representatively, derivatively, or in any other

        capacity, for, upon, arising from, relating to, or by reason of any matter, cause, or thing

        whatsoever, that, in full or in part, concerns, relates to, arises out of, is derivative of, or is in

        any manner connected with the Settled Claims, as defined in the Settlement Agreement.

                    8.   Pursuant to Paragraph 41 of the Settlement Agreement, as of the Settlement

        Effective Date, the Receiver and all of the other Receiver Released Parties, shall be fully,

        finally, and forever released and discharged from any action, cause of action, suit, liability,

        claim, right of action, right of levy or attachment, or demand whatsoever, whether or not

        currently asserted, known, suspected, existing, or discoverable, and whether based on federal

        law, state law, foreign law, common law, or otherwise, and whether based on contract, tort,

        statute, law, equity or otherwise, that Locke ever had, now has, or hereafter can, shall, or

        may have, directly, representatively, derivatively, or in any other capacity, for, upon, arising

        from, relating to, or by reason of any matter, cause, or thing whatsoever, that, in full or in

        part, concerns, relates to, arises out of, is derivative of, or is in any manner connected with

        the Settled Claims, as defined in the Settlement Agreement.

                    9.   Notwithstanding anything to the contrary in this Order, the foregoing releases

        do not release the Parties’ rights and obligations under the Settlement or the Settlement

        Agreement or bar the Parties from enforcing or effectuating the terms of the Settlement or




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        the Settlement Agreement. Further, the foregoing releases do not bar or release any claims

        that Locke may have against any Locke Released Party, including but not limited to Locke’s

        insurers, reinsurers, employees, and agents.

                    10.   The Court hereby permanently bars, restrains, and enjoins the Receiver, the

        Receivership Parties, the Heartland Investors, the creditors of any Heartland-Related

        Receivership Party, and the Non-Receivership-Party Defendants and Relief Defendants,

        whether acting in concert with the foregoing or claiming by, through, or under the foregoing,

        or otherwise, all and individually, from directly, indirectly, or through a third party,

        instituting, reinstituting, intervening in, initiating, commencing, maintaining, continuing,

        filing, encouraging, soliciting, supporting, participating in, collaborating in, or otherwise

        prosecuting, against Locke or any of the Locke Released Parties, any action, lawsuit, cause

        of action, liability, claim, investigation, demand, levy, complaint, or proceeding of any nature

        in any forum, including, without limitation, any court of first instance or any appellate court,

        whether individually, derivatively, on behalf of a class, as a member of a class, or in any

        other capacity whatsoever, that in any way relates to, is based upon, arises from, or is

        connected with the Settled Claims, as defined in the Settlement Agreement.

                    11.   Nothing in this Order or the Settlement Agreement and no aspect of the

        Settlement or negotiation or mediation thereof is or shall be construed to be an admission or

        concession of any violation of any statute or law, of any fault, liability, or wrongdoing, or of

        any infirmity in the claims or defenses of the Parties with regard to any complaints, claims,

        allegations, or defenses.

                    12.   Without in any way affecting the finality or enforceability of this Order, the

        Court retains continuing and exclusive jurisdiction over the Parties for purposes of, among




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        other things, the administration, interpretation, consummation, and enforcement of the

        Settlement, the Settlement Agreement, and this Order, including, without limitation, the

        injunctions, bar orders, and releases herein, and to enter orders concerning implementation

        of the Settlement, the Settlement Agreement, any distribution plan, and any payment of

        attorneys’ fees and expenses to RCT.

                    13.   Within five (5) business days of entry, this Order shall be served by counsel

        for the Receiver, via email, first class mail, or international delivery service, on any person

        or entity that filed an objection to approval of the Settlement, the Settlement Agreement, or

        the Motion.

                    14.   The Court expressly determines that there is no just reason for delaying the

        finality of this Order and that this Order is final and appealable under FED. R. CIV. P. 54(b).




 Signed this ___day of                    , 2024.


                                                         HAL R. RAY, JR.
                                                         UNITED STATES MAGISTRATE JUDGE




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                           EXHIBIT C (RCT Expenses)




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             Expenses - Reid Collins & Tsai LLP
  Date                          Expense                        Description        Amount
08/22/2023   W. Reid travel to Dallas for Mediation       Air Transportation        $561.69
08/22/2023   W. Reid travel to Dallas for Mediation       Ground Transportation     $234.00
08/22/2023   W. Reid travel to Dallas for Mediation       Lodging                 $1,049.82
08/22/2023   W. Reid travel to Dallas for Mediation       Meals                   $1,042.24
08/22/2023   K. Cohan travel to Dallas for Mediation      Lodging                   $801.11
08/22/2023   K. Cohan travel to Dallas for Mediation      Meals                       $7.57
08/22/2023   K. Cohan travel to Dallas for Mediation      Parking                    $60.00
08/22/2023   K. Cohan travel to Dallas for Mediation      Mileage                   $286.89
08/22/2023   M. Menchaca travel to Dallas for Mediation   Air Transportation        $138.98
08/22/2023   M. Menchaca travel to Dallas for Mediation   Ground Transportation      $37.75
08/22/2023   M. Menchaca travel to Dallas for Mediation   Lodging                 $1,214.37
09/30/2023   PACER Service Center                         Research                    $9.40
             TOTAL EXPENSES                                                       $5,443.82
